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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MASSACHUSETTS




 JOHN DOE,

                    Plaintiff                                    No. 1:23-cv-12077-WGY

                  v.

 UNIVERSITY OF MASSACHUSETTS,
 TRUSTEES OF THE UNIVERSITY OF
 MASSACHUSETTS, HANNAH MONBLEAU, in
 her official and individual capacities, KATE
 LEGEE, in her official and individual capacities,
 ESMERALDA LEVESQUE, a/k/a ESMERALDA
 Mendez, in her official and individual capacities,
 ADAM DUNBAR in his official and individual
 capacities, BRETT SOKOLOW,

                    Defendants


DECLARATION OF ILYA FEOKTISTOV IN SUPPORT OF PLAINTIFF JOHN DOE’S
   MOTION FOR A PRELIMINARY INJUNCTION AGAINST UNIVERSITY OF
                  MASSACHUSETTS AND TRUSTEES

I, Ilya Feoktistov, declare the following pursuant to 28 U.S.C. § 1746:

I am an attorney licensed to practice in the Commonwealth of Massachusetts and am in solo

practice. I am admitted to this Court and am counsel of record for Plaintiff John Doe in the

above-referenced matter. I have personal knowledge of the matters set forth herein and if called

to testify, could and would testify competently thereto. My testimony is not essential to proving

the matters set forth herein.

   1. Annexed hereto as Exhibit A is a true and accurate copy of Defendant University of

       Massachusetts’s “Student Conduct Code” for its campus in Lowell, Massachusetts.
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            Declaration in Support of Plaintiff’s Motion for a Preliminary Injunction


   2. Annexed hereto as Exhibit B is a true and accurate copy of a September 7, 2023 letter

       sent to Plaintiff John Doe by Defendant University of Massachusetts informing him that

       he has been found responsible for sexual misconduct and describing the rationale for this

       finding, and imposing various disciplinary sanctions on Plaintiff. Personally identifying

       information of Plaintiff, the complainants against Plaintiff, and the witnesses in

       Plaintiff’s disciplinary proceeding has been redacted, with names replaced by initials

       only.

   3. Annexed hereto as Exhibit C is a true and accurate copy of the Amazon product page for

       Plaintiff’s “shaker plate” exercise machine.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 6th day of November, 2023, in Brookline,

Massachusetts.




                                              Ilya I. Feoktistov, Esq.


                                  SERVICE CERTIFICATE

I, Ilya Feoktistov, counsel for Plaintiff John Doe in the above-captioned matter, hereby certify
that on November 8, 2023, I served a true and accurate copy of the foregoing document on the
parties of record by filing electronically and by email on counsel for the University of
Massachusetts, the Trustees of the University of Massachusetts, Hannah Monbleau, Kate Legee,
Esmeralda Levesque, and Adam Dunbar at:
Michael Hoven, MHoven@umassp.edu
Maria Sheehy, MSheehy@umassp.edu

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                 Exhibit A
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  Student Conduct Code
  Report a Student Concern
  Use this form to report any concerns about a student's behavior.

  File A Report

  The Student Conduct Code provides the behavioral expectations for all University of Massachusetts Lowell students. The Student Conduct Code
  (alternately, Code or Conduct Code) has jurisdiction to address behavior that occurs both on University property and o campus. Additionally, the
  Conduct Code provides the procedures used to address alleged violations of the Conduct Code.
  (Reviewed and Updated August 2022)

  In order to read the Student Conduct Code, please click on the bulleted list to jump to a speci c section.

            Preamble
            De nitions
            Student Conduct Details
            University Jurisdiction
            University Standards
            Sanctions
            Adjudication Procedures
            Appeals
            Records & Con dentiality
            Appendix A: Hazing Policy
            Appendix B: Alcohol Policy
            Appendix C: Campus Drug Policy
            Appendix D: Demonstrations on University Property
            Appendix E. Good Samaritan Policy
            Appendix F: Sexual Harassment Grievance Procedure

  Questions

  Questions regarding the Conduct Code should be directed to:

  The O ce of Student Conduct
  Location: University Crossing, Suite 200
  Phone: 1-978-934-2100
  Email: studentconduct@uml.edu


  Preamble
  Acting upon the authority granted to it by the provisions of Chapter 75 of the General Laws, the Board of Trustees adopts the policies and
  procedures herein contained which govern the conduct of students. The provisions which follow are subject to the requirements and guidelines
  established by the Board of Trustees.
  Conduct appropriate to a student at the University of Massachusetts Lowell (the “University”) is that conduct which promotes the individual’s own
  academic pursuits and which contributes to meeting the community’s educational goals and objectives.
  An individual’s conduct or behavior becomes a proper concern of the University if it adversely a ects the academic interest of the student or
  other members of the University or the University’s pursuit of its educational objectives. In addition, because the University is in an urban setting,
  it is an inseparable part of the community and the surrounding neighborhoods. The University is strongly committed to the promotion of goodwill
  in the larger community which is essential to the continued cooperation of the University and its neighbors in civic projects and to the furtherance
  of the University’s broader mission to contribute to the general good of society. Consequently, the University must consider student behavior,
  whether on or o campus, that is disruptive of good community relations or which interferes with, impairs, or obstructs the University’s mission,
  functions, and processes or that are found to be o ensive to generally accepted standards of sound behavior, as harmful and adverse to the
  University’s interests. Noti cation of a Code violation or decision of a Code violation is issued to a student through the student’s University email
  account.
  Any behavior which may have been in uenced by a student’s mental state (irrespective of the ultimate evaluation), or use of drugs or alcoholic
  beverages, shall not in any way limit the responsibility of the student for the consequences of their actions. Therefore, such conduct may be
  subject to the University’s Student Conduct Code and Discipline Process.
  It is not the purpose of the Student Conduct Code to duplicate the public statutes. The University cannot and does not condone violations of law
  and clearly recognizes that the laws of the land operate in full force on its campus. However, the University reserves its own special authority for
  the regulation of conduct which a ects its interests as an academic community.
  The University may institute proceedings against students whose conduct is prohibited by state, federal, or local laws, and which occurs on or o
  campus and materially a ects the campus community. Such action by the University is independent of, and may proceed in parallel with, civil
  and/or criminal action. Additionally, the University may institute proceedings against students whose conduct is a violation of University policies
  and regulations (including Residence Life Guidelines).



https://www.uml.edu/student-services/student-conduct/conduct-code/#appeals                                                                           1/20
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  Fundamental to the achievement of community among the members of the University is the recognition by all such members that each shares a
  responsibility to observe the University’s Student Conduct Code, policies, and regulations. This obligation, which is an extension of the citizen’s
  responsibility to observe the law of the land, is an essential corollary to participation in the academic rights a orded to members of the
  University.
  The University Student Conduct Code is not the only document governing conduct on this campus. This student conduct process is separate, and
  may operate following a referral, from other processes including, but not limited to, the grievance process for potential violations under the
  University’s Sexual Harassment Grievance Procedure (see Appendix F). Everyone, including students, faculty, sta , and administrators, is urged to
  become familiar with additional rules and regulations including, but not limited to: Massachusetts Motor Vehicle Regulations, University Parking
  Regulations, the Residence Life Community Living Guidelines, rules regarding Academic Integrity, the University’s Title IX Sexual Harassment Policy
  and grievance process, the Policy for Demonstrations on University Property, the State Hazing Policy, and the University Policies for Electronic
  Resources.
  This Code sets forth examples of behavior for which discipline and educational sanctions may be imposed and is neither intended to be
  exhaustive nor to limit the University’s ability to discipline student conduct


  De nitions
       1. University: The University of Massachusetts Lowell.
       2. Student: all persons taking courses at the University, either full-time or part-time; pursuing undergraduate, graduate, or professional
          studies; persons who withdraw after allegedly violating the Student Conduct Code; persons who are not o cially enrolled for a particular
          term but who have a continuing relationship with the University; persons who have been noti ed of their acceptance for admission; or
          persons who are living in University residence halls or apartments, although not enrolled in this institution.
       3. Faculty Member: any person hired by the University to conduct classroom or teaching activities or who is otherwise considered by the
          University to be a member of its faculty.
       4. Sta : any person employed by the University, performing assigned administrative or professional responsibilities.
       5. Member of the University Community: any person who is a student, faculty member, sta or any other person employed by the
          University. A person’s status in a particular situation shall be determined by the Dean of Student A airs or their designee.
       6. University Premises/Property: all land, buildings, facilities, and other property in the possession of or owned, leased, used, operated or
          controlled by the University.
       7. Organization: any number of persons who have complied with the formal requirements for University registration, or who operate as
          such even without complying with the formal registration requirements.
       8. “Preponderance of the Evidence” Standard: The burden of proof standard used in determining a violation of the Student Conduct
          Code. A preponderance of the evidence standard means that it is more likely than not that a violation of the Student Conduct Code
          occurred.
       9. Conduct Hearing Panel: any person or persons authorized by the Associate Dean of Student A airs or their designee to determine
          whether a student has violated the Student Conduct Code and to determine sanctions that may be imposed. This panel serves as the
          university decision maker. The individuals of the panel shall be trained annually. More information about trainings related to adherence
          to regulations under Title IX can be found on the University’s Prevent website.
      10. Conduct O cer: a sta member, trained annually on the university’s conduct process, authorized on a case-by-case basis by designation
          of the Associate Dean of Student A airs or their designee to hear cases and impose sanctions upon student(s) found to have violated the
          Student Conduct Code.
      11. Intercourse: The penetration, no matter how slight, of the vagina or anus with any body part or object, or oral penetration by a sex organ
          of another person.
      12. Sexual Touching: any sexual contact with the breasts, buttocks, groin, genitals, mouth or other bodily ori ce of another, or touching
          another with any of these body parts, or making another touch you or themselves with or on any of these body parts; any bodily contact
          in a sexual manner, though not involving contact with/of/by breasts, buttocks, groin, genitals, mouth or other ori ce.
      13. Consent:
                   General De nition: Consent is knowingly given, informed; freely, willingly, and actively given; mutually understandable,
                   unambiguous words or actions; which indicate a willingness to engage in mutually agreed upon sexual activity (or in more plain
                   language to agree to do the same thing, at the same time, in the same way, with each other). One may not engage in sexual
                   activity with another who one knows or should reasonably know to be physically or mentally incapacitated, including
                   incapacitation by drug or alcohol use or under threat of violence.
                   Consent may be withdrawn at any time.
                            It is the responsibility of the person seeking to initiate the sexual activity or conduct to a rmatively obtain consent, not
                            the intended recipient of such contact or conduct to deny such consent. An a rmative, informed decision to engage in
                            mutually acceptable sexual activity given by clear and unambiguous actions or words, it is an informed decision made
                            freely and actively by all parties. Relying solely upon nonverbal communication can lead to miscommunication. It is
                            important not to make assumptions; if confusion or ambiguity on the issue of consent arises anytime during the sexual
                            interaction, it is essential that each participant stop and clarify, verbally, the willingness to continue.
                            Students should understand that consent may not be inferred from silence, passivity, or lack of active resistance alone.
                            A current or previous dating or sexual relationship is not su cient to constitute consent, and consent to one form of
                            sexual activity does not imply consent to other forms of sexual activity.
                            When substance use is involved, a person is not considered able to give consent when the victim’s judgment is
                            incapacitated such that that they would not be capable of making rational decisions about their welfare, based on
                            understanding “who, what, where, when and how” analysis, and as such the person would not be able to give consent to
                            engage in sexual activity.
                            When an individual is incapable of giving consent because of their temporary or permanent mental or physical incapacity.
                            An individual cannot consent if they are under the threat of violence, bodily injury, or other forms of coercion.
                            Consent is not inde nite and may be withdrawn at any time. Once consent is withdrawn, all sexual activity must cease
                            unless and until additional e ective consent is given.

https://www.uml.edu/student-services/student-conduct/conduct-code/#appeals                                                                            2/20
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  Information about reporting sexual misconduct, the process related to sexual misconduct, and resources available under the
  university’s Title IX Sexual Harassment Grievance Procedure can be found on the Sexual Harassment Prevention & Education website.


  University of Massachusetts Lowell Student Conduct
  It is in the best interest of the University and members of the University community for the University to function in regard to disciplinary matters
  as a self-contained community in an orderly environment. Assurance that fair sanctions will be promptly imposed on those found responsible for
  misconduct will help the University preserve order. The University Student Conduct Process is designed to help the University exercise proper
  control over its own disciplinary a airs while acknowledging the rights and competence of the civil authorities in such matters. Procedures have
  been established which are reasonably calculated to facilitate a reliable determination of the issues and to a ord any student(s) accused or a
  student who les a complaint of certain basic procedural rights, as speci ed below.
  It is the intent of this Student Conduct Code to set forth in a clear, concise manner the expectations and duties of all members of the University
  community and to set forth administrative and disciplinary procedures whereby those students who are accused of violating the rules may be
  a orded a hearing and, if appropriate, a fair and just sanction.

  Interim Measures:

       1. The University shall retain the right to impose interim measures impacting a student’s status if such action is necessary because of a
          threat of imminent harm to the physical health or safety of a member of the University community or University property. This interim
          measures process is reserved for threats to the physical health or safety of a member(s) of the University community or University
          property not otherwise covered under the university’s Sexual Harassment Grievance Procedure. The determination to impose an interim
          measure shall be made by the Vice Chancellor of Student A airs and/or their designee. These interim measures may be delivered
          verbally and/or in writing. Any interim measures provided verbally will be followed up in writing no later than 72 hours. Students who are
          subject to interim measures will be a orded an opportunity to request an interim action review meeting with a university administrator
          within two business days to provide relevant information for consideration related to the interim decision and/or request a modi cation
          to the interim action. Whenever possible, a hearing will be scheduled for the student impacted by interim measures for the next business
          day. The university administrator will determine if modi cations are necessary. Interim measures are reviewed if new information
          becomes available and will be adjusted accordingly.
       2. The University shall retain the right to impose an interim suspension if such action is necessary because of a threat of imminent harm to
          the physical health or safety of a member of the University community or property. The determination to impose an interim suspension
          shall be made by the Vice Chancellor of Student A airs and/or their designee. Interim Suspension is de ned as: A temporary separation
          from the University until the conduct process can be completed. During this period of time a student is not permitted on any University
          property (owned/leased/operated by) without permission from the Dean of Students O ce or their designee. Additionally, the only
          business a student under interim suspension is allowed to conduct with the University is to participate in the conduct process (see Section
          VI: Procedures for adjudicating an alleged violation of the student conduct code).
       3. Other interim measures may be used to protect the well-being of the University community or property. These interim measures are
          used during a pending conduct process and maybe extended after the conclusion of the conduct process. Examples of interim measures
          include but are not limited to:
          No Contact Order: A student is restricted from contacting another student(s).

            Interim Housing Removal: A student is barred from University Housing (owned/operated/leased) pending the outcome of student
            conduct process. This housing removal may be made permanent by the sanction or lifted after the process has been completed.

            Interim Housing Relocation: A student’s housing assignment is changed.

            Campus Restriction: A student is restricted from speci c locations on campus.

            Academic arrangements: Modi cations may be made to a student's academic schedule, classroom assignment, in class logistics, etc. in
            order to limit contact with another student and/or university community member.

            Interim measures may also be taken by o ces overseeing students’ participation or membership in organizations or employment, which
            are subject to oversight outside the conduct process.


  University Jurisdiction
  Students are subject to all local, state and federal laws. Conduct, whether on or o -campus which adversely a ects the University’s mission and
  purpose and/or potentially violates the Student Conduct Code will be subject to an action through the University Student Conduct Process and, if
  warranted, careful consideration will be given to University disciplinary action in addition to whatever action civil authorities might pursue. The
  University may institute disciplinary proceedings against students whose conduct is prohibited by state, federal, or local laws and which occurs on
  or o campus, when such conduct is also a violation of the Student Conduct Code, or University policies and regulations.


  University Standards
  Misconduct for which students are subject to disciplinary action, up to and including suspension or expulsion from the University will generally fall
  into the following categories. These standards are separate from those prohibited under the University’s Sexual Harassment Grievance Procedure
  under Title IX, which will be processed via the procedure outlined in that document (see Appendix F). Any formal reports of Sexual Harassment
  must be reported to the University’s Title IX Coordinator. Information can be found through the University’s Equal Opportunity & Outreach O ce.


https://www.uml.edu/student-services/student-conduct/conduct-code/#appeals                                                                           3/20
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  Reports made to the Title IX Coordinator may be dismissed under the Sexual Harassment Grievance Procedure, and referred for investigation of
  potential violations of the student conduct code, including those below, which will be processed through the student conduct process.




  A. Respect and protection for persons and property

  Respect for persons means acting to enhance the safety, well-being and freedom to allow all persons to pursue their legitimate aims. This is
  inclusive of all University Community Members and non-community members. Respect for property means recognizing not only the ownership
  rights of persons and of the University, but also the dependence of all on the availability and preservation of necessary facilities and equipment.

       1. Interpersonal Misconduct: No student shall assault, threaten, harass, stalk, haze or otherwise physically or psychologically abuse any
          other person or themselves, on or o campus, including a University or city o cial acting in the line of duty. This shall include but not be
          limited to:
                   Physical assault: Actions including, but not limited, to physical attack upon or physical interference with a person which prevents
                   the person from conducting their customary or usual a airs, puts the person in fear for their physical safety, or causes the person
                   to su er actual physical injury. The University has special concern for incidents in which persons are subject to physical assault
                   because of membership or perceived membership in a racial, ethnic, religious, gender, or sexual orientation group.
                   Intimidation, threat, or harassment: Conduct less than a physical attack or physical action which interferes with a person in the
                   conduct of their customary or usual a airs, or conduct which is su ciently severe or pervasive to unreasonably interfere with an
                   individual's work or academic performance, or creates an intimidating, hostile, or o ensive working or academic environment. A
                   single, unusually severe incident may constitute intimidation, threats, or bullying. Any pattern of unwelcome conduct directed
                   speci cally at another person that threatens or endangers the physical or mental safety or property of that person (or a member
                   of that person’s family or household) or creates a reasonable fear or intimidation of such a threat or action. Examples include, but
                   are not limited to, actions such as the posting of threatening letters directed to the person, the use of threatening language
                   directed at another, harassing or threatening telephone calls, email, voicemail, posting of materials in on-line communities,
                   instant messaging (IM), or the vandalism of a person’s room (e.g. by gra ti). The University has special concern for incidents in
                   which persons are subject to such conduct because of membership or perceived membership in a racial, ethnic, religious, gender,
                   or sexual orientation group.
                   Retaliatory Harassment: Any adverse action taken against a member of the community for ling a complaint of a possible
                   Student Conduct Code or university policy violation, participating in the review of a complaint, or participating in disciplinary
                   proceedings in any capacity. Retaliation includes taking action which may have an adverse impact on a student’s academic
                   success or the learning environment of a student if such action is taken because of the student’s ling of, or participation in the
                   review of a complaint, whether or not the complaint is determined to be valid. Retaliation by a student, directly or indirectly, may
                   result in additional conduct code charges. Any student who believes that retaliation has taken place or is taking place, should
                   immediately report the matter as provided herein.
                   Intrusion of Privacy: Intrusion of Privacy is photographing, videotaping, lming, digitally recording, or by any other means
                   secretly viewing, with or without a device, another person without that person’s consent in any location where the person has a
                   reasonable expectation of privacy, or in a manner that violates a reasonable expectation of privacy. Unauthorized storing,
                   sharing, and/or distribution is also prohibited. This does not apply to lawful security or surveillance lming or recording that is
                   authorized by law enforcement or authorized university o cials. These provisions may not be utilized to impinge upon the lawful
                   exercise of constitutionally protected rights of freedom of speech or assembly.
                   Abuse of a Service Animal: Intentionally causing physical or psychological harm to a Service Animal or Emotional Support
                   Animal. The neglect of a Service Animal or Emotional Support Animal is also a violation of the Conduct Code.

  2. Standards related to Non-Title IX Sexual Misconduct

  Cases of potential sexual misconduct must rst be reported to the University’s Title IX Coordinator for evaluation under the University’s Sexual
  Harassment Grievance Procedure under Title IX. Cases which do not meet the Title IX jurisdiction, may be referred to other campus processes.
  Cases of this nature which involve student respondents will be referred to the Student Conduct Investigation and Hearing Panel process. In cases
  where the Title IX de nition is not met, the following de nitions will apply as violations of the Student Conduct Code related to sexual misconduct.

  No student shall sexually abuse or assault any other person on or o campus, including a University or city o cial acting in the line of duty. These
  standards are separate from those encompassed by and prohibited under the University’s Sexual Harassment Grievance Procedure under Title IX,
  which will be processed via the procedure outlined in that document (see Appendix F). Any formal reports of Sexual Harassment must be
  reported to the University’s Title IX Coordinator. Information can be found through the University’s Equal Opportunity & Outreach O ce. Reports
  made to the Title IX Coordinator may be dismissed under the Sexual Harassment Grievance Procedure, and referred for investigation of potential
  violations of the student conduct code, including those below, which will be processed through the student conduct process. This shall include but
  not be limited to:

  Domestic/Dating Violence: Dating Violence is abusive behavior (including, but not limited to, physical, emotional, and/or sexual acts or conduct)
  committed by a person who is or has been in a social relationship of a romantic or intimate nature with the victim. The existence of such a
  relationship will be determined by factors such as the length of the relationship, the type of relationship, and the frequency of interaction
  between the persons involved. Domestic Violence is any abusive behavior (including, but not limited to, physical, emotional, and/or sexual acts or
  conduct) committed:

       1. against a person who is a current or former spouse;
       2. against a person with whom the abuser shares a child in common;
       3. against a person who is or has cohabitated with the abuser as a spouse;
       4. against a person similarly situated to a spouse;

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       5. between a parent and child;
       6. between members of the same household in an intimate relationship; or
       7. against any other person similarly situated.

  Non-Consensual Sexual Intercourse: The penetration, no matter how slight, of the vagina or anus with any body part or object, or oral
  penetration by a sex organ of another person, without the consent of the Reporting Person. The de nition includes any gender of Reporting
  Person or Responding Person, and includes instances in which the Reporting Person is incapable of giving consent because of temporary or
  permanent mental or physical incapacity, including due to the in uence of drugs or alcohol or because of youth.

  Massachusetts law indicates that such acts are considered rape in any of these circumstances:

       1. when a person is compelled to submit by force against their will,
       2. compelled to submit by threat of bodily injury and if either such penetration results in or is committed with acts resulting in serious bodily
          injury, or
       3. is committed by a joint enterprise, or
       4. is committed during the commission or attempted commission of certain other crimes.

  Non-Consensual Sexual Contact: The touching of the private parts of another person for the purposes of sexual grati cation, without the
  consent of the Reporting Person, including instances where the Reporting Person is incapable of giving consent because of their age or because
  of his/her temporary or permanent mental incapacity.

  Sexual Exploitation: occurs when a student takes non-consensual, unjust or abusive sexual advantage of another; for their own advantage,
  bene t, or grati cation; or to bene t, gratify, or provide advantage to anyone other than the one being exploited; and that behavior does not
  otherwise constitute non-consensual sexual contact, non-consensual sexual intercourse or indecent exposure. Examples of Sexual Exploitation
  include, but are not limited to:

       1. Prostitution
       2. Videotaping
       3. Going beyond the boundaries of consent
       4. Voyeurism
       5. Knowingly exposing another to or transmission of HIV or STD, or causing one to believe they have been exposed to an STD or STI
       6. Inducing incapacitation for the purpose of having sex with the incapacitated person (this type of sexual exploitation occurs regardless of
          whether sexual activity actually takes place).

  Indecent Exposure: Exposure of one’s genitals or other intimate body parts where they can be readily observed by individuals who have not
  consented to the exposure and would reasonably nd the behavior lewd, o ensive, or threatening. Furthermore, engagement in sexual acts in a
  public place or where other parties who haven’t consented are present or foreseeably likely to be present.

  Sexual Misconduct: unwelcomed conduct of a sexual nature when:

       1. submission to or rejection of such conduct by a person or persons is used as a basis for employment or educational decisions a ecting
          such person or persons, or participation in University programs or activities; or
       2. such conduct unreasonably:
                 interferes with a person or person's work or academic performance;
                 interferes with or limits a person or person's ability to participate in or bene t from a work or academic program or activity; or
                 creates an intimidating, hostile, or o ensive working or academic environment.

  Stalking: Any pattern of unwelcome conduct directed speci cally at another person that threatens or endangers the physical or mental safety or
  property of that person (or a member of that person’s family or household) or creates a reasonable fear or intimidation of such a threat or action.

  Against property: No student shall take, possess, damage or deface any University or neighborhood property or any property not their own.

            Theft: Unauthorized possession or removal of property that can reasonably be determined to have been stolen from the University,
            another person, a business, or organization. Note: The university cannot mediate payment between two non-university entities for theft.
            To seek compensation for loss of money or property, civil court requests can be led.
            Damage to Property: removal of, defacing, tampering with, damage to, or destruction of property that can reasonably be determined to
            be owned by the University or another person or business.

  Health and Safety: No student shall refuse to observe any safety regulations or procedures. The following constitute a limited number of
  examples of this violation:

       1. No student shall tamper with or otherwise misuse re extinguishers, re safety systems or other safety equipment on or o -campus.
       2. No student shall cause a person or themselves to become at risk for falling from an unsafe height, such as by opening access to a rooftop
          or normally-restricted window.
       3. No student shall refuse to follow published campus expectations related to prevention or spread of communicable diseases, including
          but not limited to viral, bacterial, and fungal outbreaks.
       4. No student shall knowingly engage in disease-spreading behaviors within the campus community.

  Dangerous Conditions: No student shall knowingly create a condition which unnecessarily endangers or threatens the safety of any student or
  other persons or of property on or o campus Examples of this include but are not limited to:

       1. Students are prohibited from throwing things from roofs or windows, sitting on windowsills.
       2. Students are prohibited from tampering with or damaging elevator equipment or other machinery.

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       3. Students are prohibited from creating conditions which are unsafe for members of the community, such as hosting large in-person
          gatherings with close contact wherein students may be exposed to the existence of potential communicable diseases or wherein students
          may be harmed by being in the presence of such pathogens.

  Disruptive Activities: No student shall interfere with freedom of speech or movement, or intentionally disrupt or obstruct of teaching, research,
  administration, activities, or other functions or the incite others to do any of the above on or o campus. This includes noise disturbances on or
  o campus. Student tenants in o -campus housing will be held responsible for activities such as noise, large parties, inappropriate behavior,
   ghts and property damage in and around their homes which are reported to the University as disruptive of good community relations.

  Weapons: No student shall possess or introduce, on or o campus, dangerous weapons including, but not limited to: knives, brass knuckles,
  pellet guns, paint ball guns, archery equipment, martial arts weapons, pepper spray, mace, rearms and/or reworks or other explosives.
  Students should be aware of the negative consequences of introducing plastic or toy weapons on campus which may be mistaken for real
  weapons, if perceived by others in the community to be real weapons, the weapons policy may be applied. Additionally, objects that may not be
  perceived as weapons, when weaponized to harm others, attempt to cause harm, or which a reasonable person would deem may be used to
  harm others, may constitute a violation of the weapons policy. Objects intended for self-defense, including pepper spray, must be legal in the
  Commonwealth of Massachusetts, and approved and registered with the UMass Lowell Police Department.

  Discrimination: No student shall be denied or deny the rights or privileges of a member of the University Community or other individual on the
  basis of a protected class such as race, color, religion, gender, gender identity or expression, age, sex, sexual orientation, national origin, ancestry,
  disability, marital status, military status, or genetic information in the admission to and participation of the University’s academic programs,
  activities, services, or employment. This Code adheres to the University’s A rmative Action Plan and Nondiscrimination Guidelines; more
  information is available on the O ce of Equal Opportunity and Outreach website.

  Hazing: A conduct or method of initiation into any student organization, whether on public or private property, which willfully or recklessly
  endangers the safety, the physical or mental health of any student or other persons. The implied or express consent of the victim will not be a
  defense. Apathy or acquiescence in the presence of hazing are not neutral acts; they are violations of this policy. Failure to report a potential
  violation of the hazing policy may result in action through the Student Conduct System. This applies to such behavior on or o campus. No
  student or organization shall be involved in any action which is considered hazing by this de nition. The University has a Zero Tolerance Policy for
  any/all types of Hazing. See Appendix A, Policy Regarding the Practice of Hazing, as well as the Massachusetts General Law regarding Hazing.

  Solicitation: No student or student organization may represent itself as acting for or on behalf of the University in any commercial enterprise or
  in the solicitation or collection of funds for any purpose whatsoever without approval in advance by the appropriate University authority. (This
  applies to all means of communication, including but not limited to mail, email, telephone, electronic devices, or other means.)

  False Alarm: A false alarm is extremely dangerous as it may cause other students to ignore an actual re. A violation of this policy, whether
  accidental or malicious, places the lives and safety of fellow students in danger. Activating an alarm unnecessarily may be subject to criminal
  prosecution or nes according to Massachusetts state law. Fire alarms caused by cooking and/or dirty ovens are avoidable and may warrant
  administrative hearings. Fire alarms caused by other careless behaviors or acts may warrant sanctions as high as termination of housing,
  suspension, or expulsion if found responsible.

  B. Security of buildings and facilities

  Students of the University may enter and use all campus buildings and areas for the purposes assigned to these facilities and places during
  established operating hours. Exceptions to this rule are made only in the interests of safety, personal use and privacy, protection of valuable
  materials and equipment or to regulate access according to the hours which are normal for their assigned functions. When buildings or spaces
  within them are o cially closed or restricted, limited access applies to all students of the University unless speci cally exempted. Students must
  adhere to all local, state, and federal regulations regarding trespassing on private property.

       1. Unauthorized access: No student shall use or possess any key to any building or area which they are not specially authorized to use or
          possess, or to trespass after notice on University owned or leased property or private or city owned property.
       2. Illegal entrance/Unauthorized presence: No student shall break into, or without proper authority enter, any University parking area,
          building or room, or city-owned or private property; nor shall any student enter or remain in any private room or o ce of any student,
          faculty member, administrative o ce or other person on or o campus without the express or implied permission of any person or
          persons authorized to use or live in that room or o ce; nor shall any unauthorized student enter or remain in any building or facility at a
          time when that facility is o cially closed. No unauthorized student shall enter any restricted areas; nor shall any student assist or make
          possible the unauthorized entry of any person into any restricted area. Restricted areas may include tunnels, roofs, posted or enclosed
          construction sites, secured utility areas, posted or gated parking areas, etc.
       3. Unauthorized parking: No student shall park in any restricted area; nor shall any student assist or make possible the unauthorized entry
          of any person into any parking area.




  C. Integrity of transactions and records

  The University expects all students to be accurate in all information provided in o cial documents and correspondences with the University
  and/or on behalf of the University, both written and verbal.

       1. False Information: No student shall furnish forged or false information or misrepresenting the truth to the University or o cial and
          especially as this relates to a University conduct process. No student shall provide false information to University personnel either written
          or verbal. No student shall give false or misleading information which could damage or discredit another person. No student shall



https://www.uml.edu/student-services/student-conduct/conduct-code/#appeals                                                                               6/20
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            perform the unauthorized alteration of University documents. Violations of this regulation will result in sanctions up to separation from
            the University for students and referral to the University Police Department for non-students.
         2. Misrepresentation: No student shall represent themselves, as another person, in writing, in person or otherwise, with the intent to
            obtain bene t or to injure or defraud another.
         3. Misuse of records: No unauthorized student shall enter, search, copy, steal, alter, forge or possess University/city records, documents or
            other material including misuse or unauthorized use of computers.
         4. Unauthorized use of services: No student shall knowingly take or use any services without authorization. Examples include but are not
            limited to cable, internet, and/or phone service.
         5. Unauthorized Representation by a Student: No student may represent the University or a registered organization without either the
            explicit prior consent of the o cials of that organization or the appropriate University agency.
         6. Unauthorized Representation by a Student Organization: No student organization may represent itself as acting for or on behalf of
            the University in any commercial enterprise or in the solicitation or collection of funds for any purpose whatsoever, without approval in
            advance by the appropriate University agency. (This applies to all means of communication including, but not limited to, mail, telephone,
            email, web-based programs or applications, or other means.)
         7. Electronic Resources: The rights and privacy concerning the electronic resources of others must be respected. Attempts to bypass
            network and/or computer security (including probing activities), providing unauthorized services, and/or disabling or interfering with
            network access are explicitly prohibited. The illegal or unauthorized downloading and/or sharing of copyrighted materials is explicitly
            prohibited. Students will be held responsible for violations of the University’s Network Usage Policy, and may be subject to state and
            federal law concerning copyright infringement. For more information please refer to University policies regarding electronic resources on
            the university Policy Portal.




  D. O      cial Directives

  Within the University and city, authority is delegated speci cally to some individuals and some o cial bodies to direct the action of other
  members of the University and city/state o cials in ful llment of legitimate purposes and functions of the University and community.

         1. Failure to Comply: No student shall refuse to comply with the directions of University/city/state o cials, instructional or administrative,
            including University Police and Residence Life Sta , acting in performance of their duties. Failure to comply with university directives
            designed to limit spread/exposure to contagions (including viruses, bacteria, fungi, parasites, etc.) constitutes a violation of the Student
            Conduct Code, the Residence Life Guidelines, or other policies at the university.
         2. I.D. Cards: No student shall refuse to provide accurate identi cation upon request by any university o cial acting within the scope of
            their authority. All students must carry their University I.D. card with them at all times and immediately surrender their University I.D.
            card upon request by an authorized University/city /state o cial. Altering, improperly possessing, or lending a University I.D. Card, or any
            other identi cation card, to another person for any reason not expressly authorized by the University is a violation of this Code. A
            University I.D. Card falling into any of these categories may be con scated by any student, sta , or faculty member in the course of their
            charged work responsibility.




  E. University and Neighborhood Activities

  All legitimate activities of the University/city and its members can contribute to the achievement of its purposes and ideals. No single activity is
  above legitimate challenge or question, but activities shall be protected from peremptory unauthorized interruption.

         1. Individual/Organizational Activities: No student shall obstruct or disrupt any educational, research, administrative, social or
            recreational activity of the University; nor shall any student create a nuisance to members or guests of the University or City. Additionally,
            actions and behaviors of recognized and unrecognized student organizations and other student groups, or in part, that violates the
            expectations of individual students and/or the organization itself will be subject to disciplinary action.
         2. Social Organizational Misconduct: Any conduct engaged in by a university-a liated organization collectively, or in part, that violates the
            expectations of individual students and/or the organization itself.




  F. Personal Activities

  The University recognizes all local, federal and state laws and expects students to adhere to them. Speci cally, the University puts students on
  notice that its campus o ers no haven from applicable laws of personal behavior, and that students are speci cally liable for any violation of local,
  state and/or federal laws.

         1. Alcohol: The sale, giving, serving, or using of alcoholic beverages to or by those under the legal age is prohibited by Massachusetts Law.
            Possession of alcoholic beverages by those under the legal age is prohibited by Massachusetts Law. In addition, the University prohibits
            underage students from being in the presence of alcohol. See Appendix B, Alcohol Policy.
         2. Drugs: No student shall knowingly sell, possess, manufacture, cultivate, distribute or use, or be in the presence of, on or o campus,
            substances de ned by Massachusetts or Federal Law as illegal. Use/possession/sale/sharing of prescription medication that is not
            prescribed to a student is a violation of the Student Conduct Code, as well as a violation of the law. Additionally, the possession of drug
            paraphernalia is a violation of the Student Conduct Code. See Appendix C, Drug Policies and Regulations. Federal law imposes de nite
            sanctions for drug use, sale, possession, distribution, manufacture and cultivation.



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       3. Gambling/Fund Raising: No student or student organization shall host or participate in activities that violate the Laws of the
          Commonwealth of Massachusetts pertaining to gambling and/or City of Lowell regulations governing gambling and fund raising.
       4. Lewd/Indecent Conduct: Lewd or indecent conduct or expression, on or o campus/University property, or at University sponsored or
          supervised functions are a violation of the Student Conduct Code.
       5. Disorderly Conduct: Drunkenness and/or disorderly conduct is a violation of the Student Conduct Code.




  G. Violation of Speci c University Policy

  Any violation of any University policies, including but not limited to the Residence Life Guidelines and any policies which are published in
  hardcopy, found on the website, or posted throughout campus, are considered violations of the Student Conduct Code. Any updates or
  modi cations to these and other University rules, regulations, and policies may be found on the University policy portal.


  Sanctions
  The following sanctions may be applied to any individual, group of individuals, or organization for violations of the University Conduct Code,
  University policies, or guidelines. However, the University is not limited to these sanctions or to the application of only one of these sanctions.
  Sanctions will be part of the student’s le for seven (7) years from the date of the incident. Expulsion sanctions are kept for twenty- ve (25) years.
  Sanctions for violations of this Conduct Code are progressive. Prior disciplinary actions may be taken into consideration and students may receive
  more severe sanctions than students with no prior records. Any student found responsible of an additional o ense while serving a prior
  disciplinary probation or suspension may be suspended or expelled, depending on the circumstances. Notwithstanding the progressive nature of
  sanctions, the University reserves its right to impose any level of sanction it deems appropriate and warranted.

  Status Sanctions

  Status sanctions will be given in each outcome of a disciplinary proceeding in which a student has been found in violation of the Student Conduct
  Code.
           Expulsion: The involuntary and permanent separation of the student from the University. This sanction will be recorded on the student’s
           transcript. The student will also be barred from the University premises.
           Suspension: The involuntary separation of the student from the University, di ering from expulsion in that it implies and states a time
           when a return may be possible. Thus, suspension may extend from 1) a semester, 2) a speci ed period, 3) longer than one semester, until
           a speci cally designated date, or 4) until a stated condition is met, pending review by the Dean of Students and/or their designee.
           Suspensions that take e ect during a semester will result in the loss of academic credit for that semester. The student cannot participate
           in any University sponsored activity and is barred from University premises. The student will not be able to make any academic progress
           towards their degree during the suspension period unless permitted by the Dean of Students and/or their designee, i.e. a student may
           not take classes at another institution during the suspension period and transfer the credits to the University.
  University Probation: Probation is, in e ect, a second chance o ered to the student to help them re-evaluate their conduct, and bene t from
  experience. There are two forms of probation:
           Elevated Probation: During this time, a student’s status with the University can be at jeopardy. Further violations of the conduct code
           may result in housing removal (see “removal or relocation”), suspension (see “suspension”), or expulsion (see “expulsion”) from the
           University. This sanction can be set for an inde nite period of time or until completion of degree.
           Probation: This is the lower level of probation. Further violations of the student conduct code may result in more severe sanctions. This
           sanction can be set for an inde nite period of time or until completion of degree.
  Written Reprimand: this written action is a formal admonition on behalf of the University and is intended to address behavior that has been
  deemed unacceptable for a University student. This action may be taken for repeated o enses or warnings as well.
  Removal or relocation from University Housing: The University reserves the right to remove a student from University Housing, or to relocate
  them to another Residence Hall. If a student is removed from University Housing, they are then prohibited from all University Housing, including
  visiting other residents.
  Deferred Status Sanction: Students may be placed on deferred suspension or deferred removal from university housing. In these cases,
  students will be eligible to continue making academic progress, or remain in university housing, following the status sanction of a deferred
  sanction. However, future violations of the Student Conduct Code will result in a strong consideration and likely recommendation of the status
  sanction for that which has been deferred.
  Social Probation or Student Organization Sanctions: This status may be applied for failure to follow policies and/or directives related to
  student organization-sponsored activities on or o campus. Its primary e ect is to suspend the privilege of sponsoring social events and/or to
  restrict access to speci c campus facilities (use of facilities).

  Educational and Developmental Sanctions

  The following sanctions may be given in addition to status sanctions to encourage the student to repair the harm to the campus community,
  engage in education related to the violation, or ensure that the student is better able to succeed in the future.
  Restitution: If an infraction involves damages, or destruction or loss of property, monetary restitution may be imposed. Proof of payment of
  restitution must be provided to the Student Conduct O ce or their designee. Failure to provide proof of payment may result in a hold on
  registration and/or transcripts, or denial of graduation. The University will neither assume responsibility for, nor act in the collection of, privately
  incurred debts involving students.
  Community Service: Students may be asked to perform a speci ed number of hours of community service as a sanction for a violation of the
  Student Conduct Code. The responsibility to nd a placement for the community service may fall to the student, and students will be asked to
  provide documentation of said service. Students may, generally, not use current places of employment as a placement for community service
  hour completion.
https://www.uml.edu/student-services/student-conduct/conduct-code/#appeals                                                                               8/20
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  No Contact Order: The University reserves the right to restrict contact by any means (in person, verbal, electronic, or via third party) between
  multiple university community members. These restrictions will apply to all parties to prevent retaliation or furtherance of con ict that impacts
  the campus community.
  Parental/Guardian Noti cation: The University reserves the right to notify parent(s)/guardian(s) of any issues related to an alcohol/drug violation
  if the student is under the age of 21. This noti cation can be written or verbal.


  Procedures for Adjudicating an Alleged Violation of the Student Conduct Code

  Other Sanctions

  Other sanctions may be imposed instead of or in addition to those speci ed above, such as work requirements, restriction of privileges, and
  educational sanctions.




  Rights of Students Involved in the Student Conduct Code Process

  Note that violations under the university’s Sexual Harassment Grievance Procedure will follow the process outlined in that document (see
  Appendix F).

  Students involved in the Student Conduct Process have the right to:

            Be noti ed of the alleged violations following receipt of a complaint or an investigation by the Student Conduct O ce.
            Review relevant and appropriately redacted materials that are part of a student's educational record following an investigation, and prior
            to a hearing panel process or nal decision being rendered by a Conduct O cer or Hearing Panel, regarding the incident(s).
            Be informed of the conduct process.
            Request an accommodation for the conduct process, based on a documented disability. Students may request accommodations which
            allow them to access the conduct process in an equitable manner. Students must request accommodations, which will be reviewed by the
            O ce of Disability Services, and accommodations cannot be granted retroactively.
            Respond to the alleged conduct code violations. These responses can be done in writing and students will have the opportunity to review
            all relevant, redacted materials prior to submitting their response.
            Be accompanied by an advisor or support person of choice during any student conduct process in which the student is participating
            (please refer to Support Person guidelines).
            Be noti ed in writing of the outcome of the conduct complaint. Noti cations are sent by university email.
            The right to appeal under the appeal guidelines, when applicable (see Appeals guidelines).
            For cases involving Sexual Misconduct, Stalking, Domestic/Dating Violence and other violent crimes, and for those which may be
            processed under the university’s Sexual Harassment Grievance Procedure under Title IX, the complainant and responding student have
            the additional rights provided below and listed in more detail in the Sexual Harassment policy under Title IX (see Appendix F).
                     The right to be noti ed of all reporting options available, including making an anonymous report when available.
                     Support resources (ex. Counseling and Health Services, etc.) and remedial measures (ex. No contact orders, housing relocation,
                     etc.) More speci c details can be found on the university's Sexual Harassment Prevention & Education website.
                     The right to request con dentiality (con dentiality is not de ned as anonymous).
                     The right to notice of the outcome to the complaint simultaneously in writing through University email. Note that noti cation of
                     the outcome of a complaint for a complainant is limited to only the speci c charges listed above, namely violations of sexual
                     misconduct standards and other violent crimes.
                     The same rights to appeal (see Appeals guidelines).
                     The right not to be required to be in the same room or meeting as the respondent or complainant during the investigative
                     process.
                     The availability to request use of alternate methods of participation in live hearings through use of technology or physical
                     barriers.
                     Notice of possible sanctions that the University may impose following the determination of the hearing panel.




  Case Referral

  Any member of the University community or persons una liated with the University may notify the O ce of Student Conduct of a student’s
  violation of the University’s Student Conduct Code. Noti cations must be made within one year (365 days) of the alleged violation in order for
  charges to be brought. However, charges under the Interpersonal Misconduct and Sexual Misconduct subsections of this code may be brought at
  any time while the charged student is enrolled at the University. Any formal reports of sexual harassment or sexual misconduct, as de ned in the
  Sexual Harassment Grievance Procedure (see Appendix F), must be reported to the University’s Title IX Coordinator. Information can be found
  through the University’s Equal Opportunity & Outreach O ce, as well as in Appendix F. Reports made to the Title IX Coordinator may be
  dismissed under the Sexual Harassment Grievance Procedure, and referred for investigation of potential violations of the student conduct code,
  which will be processed through the student conduct process. The University may independently investigate an allegation of student misconduct
  whether or not it has been submitted in writing and whether or not it is beyond the three hundred sixty- ve days provided in this paragraph.

  The University does not tolerate retaliation toward a University community member who has reported a potential conduct violation. Please see
  Retaliatory Harassment.



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  Process

  Any formal reports of Sexual Harassment must be reported to the University’s Title IX Coordinator. Information can be found through the
  University’s Equal Opportunity & Outreach O ce. The below process is reserved for cases of student misconduct not processed through the
  Sexual Harassment Grievance Procedure (see Appendix F).

  Upon receipt of a complaint or formal report, the Student Conduct O ce will review the complaint and gather the necessary information to
  determine if further action is appropriate. If it is determined that there is su cient information to charge a student with a violation of the Code,
  charges will be brought and the case must be heard through resolution.

  It is the policy of the University to inform both the complainant and the responding student of the outcome of any campus disciplinary
  proceeding involving sexual misconduct, stalking, dating/domestic violence and, subject to FERPA, other violent crimes, as provided under the
  Rights of Students, provided above. The complainant and respondent shall be provided with a written list of the Rights of Students.

  Disciplinary ags may be set on a student’s record if a student fails to respond to noti cation of an alleged violation of the University’s Student
  Conduct Code; fails to complete sanctions; when the University is concerned that a student’s conduct a ects the safety and well-being of the
  University community; or when a student is suspended or expelled from the University. When a disciplinary ag has been set, the student cannot
  register for classes and may not be eligible for other academic services until meeting with a Conduct O cer.

  Formal rules of process, procedure, and/or technical rules of evidence, such as are applied in criminal or civil court, are not used in the campus
  conduct process.

  When the Student Conduct O ce determines that a violation of the University’s Student Conduct Code is likely to have occurred, it will in a timely
  fashion complete the following actions:




  Campus Conduct Conference Process

  When the alleged violation(s) of the Student Conduct Code may result in written reprimand, university probation (of either level), housing
  relocation, and/or other lesser sanctions, the following will occur:

       1. Notify the student that they have allegedly violated the Student Conduct Code and provide a time no sooner than two (2) business days,
          in accordance with the student academic calendar, for a Campus Conduct Conference. This noti cation will be in writing sent through
          University email. Failure to appear for this Campus Conduct Conference may result in a decision being made on the basis of available
          information, which may lead to determination of responsibility, imposition of sanctions in absentia, and forfeiture of the right to appeal.
          Refusal to accept noti cation is not grounds for failing to appear at the Campus Conduct Conference.

       2. A Conduct O cer will be selected to investigate the matter and make a determination as to whether the Code has been violated and
          determine sanctions, if applicable. Students, through the conduct o ce and the Conduct O cer, may request a submission of rst-hand,
          written, factual accounts by witnesses and/or the appearance of witnesses who can provide information relevant to fact- nding. The
          Conduct O cer shall facilitate this process and approach witnesses, and may request that the authors appear at a Campus Conduct
          Conference by making such request, either verbally or in writing. The Conduct O cer may exclude repetitive information or information
          that is not rst-hand or relevant knowledge, as determined by the Conduct O cer. Relevant and appropriately redacted materials may be
          reviewed by responding students (and complainants in speci c, limited cases) prior to the Campus Conduct Conference at the student’s
          request, which must be made at least one business day prior to the meeting. The Campus Conduct Conference is a closed meeting. The
          Conduct O cer has the discretion to include other individuals as the Campus Conduct O cer deems appropriate. During the Campus
          Conduct Conference, the following will occur:

                  A student may be accompanied by a Support Person (please refer to Support Person guidelines).
                  The student will be allowed to provide their account of the incident.
                  Questions may be asked by the Conduct O cer to the student and any witnesses. Student and/or witnesses will not address each
                  other. The student may ask questions through the Conduct O cer of any student and/or witnesses. No direct communication
                  between students and/or witnesses will be allowed. If the Conduct O cer deems the question(s) inappropriate, they will not be
                  considered. This is to maintain the educational and non-confrontational tone to the Campus Conduct Conference.
                  A decision regarding an alleged Student Conduct Code violation will be made under the “Preponderance of the Evidence”
                  standard.
                  At the end of the Campus Conduct Conference one of the following will occur:
                         1. The Conduct O cer may make a decision regarding the alleged violation of the Student Conduct Code and, if the student
                            is deemed responsible, determine sanctions.
                         2. Conduct O cer does not make a determination immediately, in order to consider the matter further. The Conduct O cer
                            will notify the complainant (if appropriate) and the responding student of the decision in writing, within ve (5) business
                            days of the Campus Conduct Conference.
                  If the student is found responsible for a violation and participated in the Conduct Conference, the student has the right to appeal.
                  For more information, see Appeals.




  Investigation/Hearing Panel Process


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  When the alleged violation(s) of the Student Conduct Code have the potential to result in removal from housing, suspension, or expulsion, or for
  cases of sexual misconduct or other violent crime violations, an investigative and hearing panel model will be utilized:

            The Student Conduct O ce will notify the student through University email that they are party to an investigation. A student receiving this
            letter will be o ered an opportunity to meet with a member of the Student Conduct O ce. That meeting is entirely optional, but will allow
            the student to meet with a Student Conduct O ce sta member to review the student conduct process and their rights in the process.
            The following information will be provided to the student in writing, either in this process review meeting, or by email:
                     List of rights of a student involved in the conduct process (see Rights of Students Involved in the Student Conduct Code Process).
                     Name(s) of the investigators assigned to the matter
                     Information to learn more about the investigative and hearing process via a link to the Student Conduct Code.
                     A summary of what is alleged to have occurred, including (if known) the alleged date of occurrence, location, and details about the
                     origination of the report, along with the policy which the behavior purports to have violated. This information is prior to a full
                     investigation, and is subject to change based on information collected through the investigative process.

            A neutral investigator will be appointed by the Director of Student Conduct or designee (The Director may serve as the investigator) to
            conduct the investigation. Investigative interview will be audio recorded. The investigator will make all reasonable attempts to gather all
            relevant information to determine whether the Code was violated, based on the preponderance of the evidence. This includes, but is not
            limited to: interviewing the complainant (if applicable), interviewing the responding student, interviewing applicable relevant
            eyewitnesses, and reviewing physical evidence (ex. Screenshots, call logs, etc). The investigator is primarily responsible for gathering
            information concerning the complaint. However, each party will be asked to identify witnesses and provide relevant information,
            including but not limited to, documents, communications, and photographs. All parties are encouraged to provide relevant information as
            promptly as possible. The investigator reserves the right to identify a reasonable deadline for information selection, as well as the
            relevance of provided information or witnesses.

            At the conclusion of the investigation, the investigator will present their report to the Director of Student Conduct or designee. The report
            shall include (if applicable): summaries of interviews, statements from involved parties and witnesses, physical evidence (ex. screenshots,
            call logs, etc.). Additionally, the report shall include recommendations of violations of the University’s Student Conduct Code, if applicable
            (based on a “Preponderance of the Evidence”).

            After review of the initial report by the O ce of Student Rights & Responsibilities, the responding student, and complainant limited to
            cases of sexual misconduct or violent crime standards, will be noti ed simultaneously in writing through University email of the alleged
            conduct charges against the responding student. The students will have the opportunity to review the investigator’s report and respond in
            writing. Students will have no fewer than ten (10) days to submit their written response. The investigator will consider the received
            responses and weigh whether the responses change the nding(s). Any changes deemed appropriate, as well as the responses by both
            the respondent and complainant (if applicable), will be shared with the hearing panel or decision maker.

            If the University investigator has found su cient evidence to move forward with charges of violations of the Student Conduct Code, the
            responding student will have the opportunity to accept or reject responsibility for any applicable charges. The nal decision will be made
            by a hearing panel or case administrator on the outcome of the matter. The hearing panel will be scheduled no sooner the ten (10) days
            from the Respondent, and Complainant if applicable, receiving the investigation report.
                      The hearing panel will be comprised of at least two (2) administrators trained by the University. Signi cant aspects of a hearing
                      include:
                            1. Student may have a support person, who can present questions for the panel to consider, but may not testify on the
                               student’s behalf.
                            2. If a student wishes to ask questions, they must present them to the panel, in writing, which will determine if the question
                               is relevant and must be answered by the other party. The respondent and complainant will not be permitted to ask one
                               another questions directly.
                            3. All students that participate in the process must be willing to submit to questioning by the hearing panel. This may
                               include questions submitted by the other parties in the hearing.
                            4. Students are welcome to provide witnesses.
                                        a. A student must name witnesses ve (5) days prior to the hearing.
                                        b. Witnesses can provide information in writing if they prefer.
                            5. Decisions about charge responsibility will be made on the preponderance standard following a con dential deliberation
                               by the hearing panel.
                            6. Following the decision, the Director of Student Conduct or designee will provide the panel information for consideration
                               in sanctioning. That information may include, but is not limited to: the respondent's conduct history, precedent from
                               previous cases, etc.
                            7. The panel’s decisions will be provided to the student in writing.
                            8. Students charged may appeal on three (3) possible grounds (see Appeals):
                                        a. Procedural error
                                        b. Con ict of interest by investigator or hearing panelist
                                        c. New and relevant information
            When an appeal is granted, a new hearing may be organized. There is no possibility for further appeal following the outcome of the new
            hearing.
            Appeal requests are due ten (10) business days following the outcome notice from the hearing.
            Students who do not participate in the hearing are not eligible to appeal.
            All live hearings are audio recorded.




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  Support Persons

  A student may elect to be accompanied at all student conduct processes by a support person of their choice. A student should select a support
  person whose schedule allows attendance at the scheduled date and time for the meeting(s) because delays will not normally be allowed due to
  the scheduling con icts of a support person. If a student elects to have an attorney present as their support person, it will be at the sole cost and
  expense of the student. The student must notify the Student Conduct O ce of who their support person is within one business day of any
  meeting or hearing panel. Student conduct processes will not be scheduled based on a support person’s availability. Note that support persons in
  the student conduct process are separate from the role of advisor under a formal complaint processed through the Sexual Harassment Grievance
  Procedure. In cases of formal complaints under the Sexual Harassment Grievance Procedure, that process will be followed (see Appendix F).

  The role of the support person in all cases is limited to supporting the student during the conduct process. The support person may not testify on
  behalf of the student, answer questions directed to the student, and/or address or ask the other party questions directly. As noted above,
  advisors in the Sexual Harassment Grievance Procedure will be expected to adhere to the role in that process, and the support person role in the
  student conduct process is unique to the student conduct procedure. However, the support person may assist the student in providing questions
  to be considered by the panel in a live hearing. At no time may the support person be a rsthand witness to the incident(s) in question.

  The student must direct all questions and/or concerns about any conduct investigative process to the Conduct O cer or Investigator.




  Accommodations for Students with Disabilities

  The University is committed to providing appropriate accommodations to students with disabilities so that all students have meaningful access to
  all University programs and services, including the Student Conduct Process.

  All students with disabilities who are involved in the Student Conduct Process, including complainants and responding students, support
  person(s), and witnesses may seek accommodations for any stage of the Student Conduct Process. Any student requesting an accommodation
  must do so far enough in advance to allow the request to be reviewed and an appropriate accommodation identi ed and implemented. Although
  there is no rm deadline beyond which an accommodation cannot be requested, the student will be held accountable for making any request in a
  timely fashion; the University may not be able to provide an accommodation which is not requested at least ve (5) business days before the
  accommodation is needed. Accordingly, each student seeking an accommodation is strongly encouraged to do so as early as possible in the
  Student Conduct Process.

  A request for accommodation shall be made to the Disability Services O ce. The request will be reviewed by a member of the Disability Services
  O ce, who will apply appropriate legal standards and University policies and procedures to determine what accommodation, if any, is
  appropriate. The student will be given an opportunity to have an interactive role in the review process—i.e., to discuss the request with the
  Disability Services O ce—before the review is completed. The Disability Services O ce may require the student to provide appropriate
  documentation from quali ed health care professionals to support the request. In addition, the Disability Services O ce, at their discretion, shall
  consult as appropriate with the Conduct O cer or the Associate Dean of Student A airs or their designee, or other experts of the Disability
  Services O ce sta member’s choosing. The Disability Services O ce will make their determination in light of the student’s particular disabilities
  and the nature of the Conduct Process, as informed by any consultations, relevant documentation, and relevant previous accommodations
  provided to the student. The student will be given an explanation of the Disability Services O ce’s determination.

  If the student requesting accommodations disagrees with the Disability Services O ce’s determination on reasonable accommodations, they may
  appeal the determination to the O ce of Equal Opportunity and Outreach within ve (5) business days of the Disability Services O ce’s decision.


  Appeals
  Either the respondent or complainant (limited to cases involving sexual misconduct or violent crime standards only) may appeal a decision, in
  writing, to the Student Conduct O ce. All appeals are due to the Student Conduct O ce within ten (10) business days following the outcome
  notice from a conduct conference or a live hearing. Date of noti cation is day the letter is sent via University email. During the appeals process,
  sanctions may remain in place. An appeal must specify grounds that would justify consideration. Appeals will only be accepted for review if based
  upon one or more of the following criteria:

            If the student can demonstrate new and signi cant evidence that would substantially alter the ndings of fact, not previously known to
            the appellant that has been discovered, and is newly available during the appeal process. The new evidence could not have been
            discovered through the exercise of reasonable diligence, and the absence of which was su cient to materially a ect the outcome.
            If the student can demonstrate that signi cant procedural errors of the Code process occurred that were substantial enough to e ectively
            and detrimentally a ect the outcome.
            If a student can demonstrate a clear con ict of interest, or bias, by either the investigator or a hearing panelist that is su cient to
            materially in uence and a ect the outcome of the case.

  The Dean of Student A airs and Enrichment or designee will designate one sta person to coordinate the appeal. This designee will make a
  determination of whether or not the appeal has merit based on the above-stated criteria. If the appeal does not have merit, the ndings and
  sanctions will stand with no further appeal, and the students will be noti ed in writing (and complainant if the claim involves sexual misconduct or
  other violent crimes, subject to FERPA). If the appeal has merit, one of the following will occur:

            If the case was heard by a Campus Conduct Conference the designee can take the following actions after reviewing the case:
                     Uphold the nding and sanctions. This decision will be delivered in writing. This decision is nal and cannot be appealed.
                     In light of new and signi cant information that would substantially alter the ndings of fact, the case will be referred for a new
                     Campus Conduct Conference. The Conduct O cer selected will not be the original Conduct O cer. This decision will be delivered

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                     in writing. This decision is nal and cannot be appealed.
                     In light of a failure to follow the procedures outlined herein, the case will be referred for a new Campus conduct conference or
                     live hearing. The Conduct O cer selected will not be the original Conduct O cer. This decision will be delivered in writing. This
                     decision is nal and cannot be appealed.
                     In light of clear con ict of interest or bias, the case will be referred for a new Campus conduct conference or live hearing. The
                     Conduct O cer selected will not be the original Conduct O cer. This decision will be delivered in writing. This decision is nal and
                     cannot be appealed.
            If the case was processed through the investigative model, the designee can take one of the following actions after reviewing the case:
                     Uphold the ndings and sanctions. This decision will be delivered in writing. This decision is nal and cannot be appealed.
                     In light of new and signi cant information that would substantially alter the ndings of fact, the investigation will be referred to a
                     new review panel. The decision of the new review panel will be nal and cannot be appealed.
                     In light of a failure to follow the procedures outlined herein, the investigation will be referred to a new review panel. The decision
                     of the new review panel will be nal and cannot be appealed.
                     In light of clear con ict of interest or bias, the investigation will be referred to a new review panel. The decision of the new review
                     panel will be nal and cannot be appealed.

  All decisions regarding the appeals will be delivered in writing through University email.


  Records and Con dentiality
  The Student Conduct O ce shall maintain the o cial disciplinary records and a disciplinary action tracking system, which shall include, but not be
  limited to, the student’s name and related identifying information, applicable Student Conduct Code section(s), parties involved, description of the
  incident, sanction(s), expiration dates, agreements or restrictions, and any other data deemed relevant. Such record will be maintained for seven
  (7) years after the date of incident for all cases excepting those resulting in expulsion. Cases resulting in expulsion will be maintained for twenty-
    ve (25) years, and a notation will be made on the o cial university transcript.
  Student Conduct records and related information shall be made available to Conduct O cers and other University personnel
  designated as necessary.
  Students may request, in writing, to review their own disciplinary records and related information by contacting the O ce of Student Conduct.
  Except as provided in the Student Conduct Code, the University shall not communicate a student’s disciplinary record and related information to
  any person or agency without prior written consent of the student or, when the student is a minor, the student’s parents or legal guardian, except
  as required or permitted by law. If records are shared under guidance of law, personal identi able information will be redacted as appropriate.


  Policies Regarding the Practice of Hazing

  Hazing Policy

  The University of Massachusetts Lowell has a Zero Tolerance Policy for any/all types of Hazing. Hazing is de ned as the following: As conduct or
  method of initiation into any student organization, whether on public or private property, which willfully or recklessly endangers the physical or
  mental health of any student or other persons. The implied or express consent of the victim will not be a defense. Apathy or acquiescence in the
  presence of hazing are not neutral acts; they are violations of this policy. Failure to report a potential violation of the hazing policy may result in
  action through the Student Conduct System. To report a potential violation of the hazing policy you can use the following methods:

            Student Conduct O ce
            Phone: 1-978-934-2100
            Email: studentconduct@uml.edu
            Dean of Students O ce
            Phone: 1-978-934-2100
            University of Massachusetts Police Department
            Phone: 1-978-934-2398
            Anonymous tip line: 1-978-934-4213
            National toll-free anti-hazing hotline
            1-888-NOT-HAZE (1-888-668-4293)


  Hazing Law
  Hazing is a violation of the Laws of Massachusetts please refers to Chapter 269 (sections 17-19) of General Laws as Amended January 5, 1988:

  Section 17.

  Whoever is a principal organizer or participant in the crime of hazing, as de ned herein, shall be punished by a ne of not more than three
  thousand dollars or by imprisonment in a house of correction for not more than one year, or both such ne and imprisonment.

  The term “hazing” as used in this section and in sections eighteen and nineteen, shall mean any conduct or method of initiation into any student
  organization, whether on public or private property, which willfully or recklessly endangers the physical or mental health of any student or other
  person. Such conduct shall include whipping, beating, branding, forced calisthenics, exposure to the weather, forced consumption of any food,
  liquor, beverage, drug or other substance, or any other brutal treatment or forced physical activity which is likely to adversely a ect the physical
  health or safety of any such student or other person, or which subjects such student or other person to extreme mental stress, including
  extended deprivation of sleep or rest or extended isolation.

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  Notwithstanding any other provisions of the section to the contrary, consent shall not be available as a defense to any prosecution under this
  action.

  Section 18.

  Whoever knows that another person is the victim of hazing as de ned in section fteen and in seventeen and is at the scene of such crime shall,
  to the extent that such person can do so without danger or peril to themselves or others, report such crime to an appropriate law enforcement
  o cial as soon as reasonable practicable. Whoever fails to report such crime shall be punished by a ne of not more than one thousand dollars.

  Section 19.

  Each institution of secondary education and each public and private institution of post-secondary education shall issue to every student group,
  student team or student organization which is part of such institution or is recognized by the institution to exist as an una liated student group,
  student team or student organization, a copy of this section and sections seventeen and eighteen; provided however, that an institution’s
  compliance with this section’s requirements that an institution issue copies of this section and sections seventeen and eighteen to una liated
  student groups, teams or organizations shall not constitute evidence of the institution’s recognition or endorsement of said una liated student
  groups, teams or organizations.

  Each such group, team or organization shall distribute a copy of this section and sections seventeen and eighteen to each of its members, plebes,
  pledges or applicants for membership. It shall be the duty of each such group, team or organization, acting through its designated o cer, to
  deliver annually, to the institution an attested acknowledgement stating that such group, team or organization has received a copy of this section
  and said sections seventeen and eighteen, that each of its members, plebes, pledges, or applicants has received a copy of sections seventeen and
  eighteen, and that such group, team or organization understands and agrees to comply with the provisions of this section and sections seventeen
  and eighteen.


  Alcohol Policy

  Preamble

  All students/employees at the University of Massachusetts Lowell are expected to abide by all Federal, State and local laws, including those
  regulating the use, possession, sale, distribution, manufacture and cultivation of illicit drugs and alcohol. In addition, Congress amended Title XII
  of the Higher Education Act of 1965 by adding a section pertaining to Drug Free Schools and Campuses. Under this new amendment any
  institution receiving federal funds, including federal student loan programs, must adopt and implement policies to prevent the use of illegal drugs
  and alcohol by students and employees.

  Financial aid penalties for drug o enses: Beginning on July 1, 2000 the 1998 amendments to the Higher Education Act require the suspension of
  eligibility for nancial aid for students convicted of drug related o enses. The length of suspension of eligibility is not less than one year and
  varies depending on the nature of the o ense. Full details are available from the O ce of Student Financial Assistance.

  The University of Massachusetts Lowell is committed to promoting a climate which supports academic and personal growth and success and the
  well-being of all members of the academic community. To safeguard and promote a healthy academic and living environment, the University
  promulgates rules and regulations for the behavior of all members of the community. These are outlined in several major policy statements i.e.,
  the student conduct code, the hazing policy, the alcohol and other drug policies, etc. Copies of these campus regulations are available on the web
  on Human Resources Policies webpage.

  It is the responsibility of each member of this community to understand and comply with all campus rules and regulations. These regulations
  include all federal, state and local laws including the Drug Fee Schools and Community Act of 1989, the Drug Free Workplace Act of 1988 and the
  Higher Education Act (as amended in 1998). As a member of the university community, it is your responsibility to know and abide by all campus
  rules and regulations, to understand the risks associated with the use and abuse of alcohol and other drugs, and to assist in creating an
  environment that promotes health-enhancing attitudes and activities.

  The following de nitions apply to the Drug and Alcohol Policies for the University of Massachusetts Lowell community, including students and
  guests:

            Area under jurisdiction of the University includes all:
                  1. property occupied, leased or used by the University;
                  2. property owned, occupied, leased or used by the University of Massachusetts Lowell Building Authority; and
                  3. property occupied or used by any other university-recognized organizations.
            Alcoholic Beverage - any liquid intended for human consumption as a beverage and containing one or more of alcohol by volume at
            sixty degrees Fahrenheit
            Controlled substance - any substance listed in schedules I. through V. of section 202 of the Controlled Substances Act (21 USC. 812).
            Conviction - a nding of guilty (including a plea of nolo contendre) or imposition of sentence, or both, by any judicial body charged with
            the responsibility to determine violations of the Federal or State criminal drug statutes;
            Employee - elected or appointed o cers or employees, including all members of the University faculty and sta whether serving full or
            part-time, temporary or permanent, compensated of uncompensated.
            Manufacture - the production, preparation, propagation, compounding, conversion, or processing of a controlled substance.
            Possession - the knowing or intentional possession of a controlled substance; having direct physical control over a controlled substance.
            Student - all persons taking courses at the University, either full-time or part-time; pursuing undergraduate, graduate, or professional
            studies; persons who withdraw after allegedly violating the Student Conduct Code; persons who are not o cially enrolled for a particular


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            term but who have a continuing relationship with the University; persons who have been noti ed of their acceptance for admission; or
            persons who are living in University residence halls or apartments, although not enrolled in this institution
            University - the University of Massachusetts Lowell, all campuses and all land, buildings, facilities, and other property in the possession of
            or owned, leased, used, operated or controlled by the University.
            Organization - all recognized student organizations, governments, and groups of students; all faculty, sta and alumni organizations
            using areas under University jurisdiction and all non-University organizations requesting use of any University facilities.
            Authority - these regulations are promulgated by the Trustees of the University pursuant to applicable provisions of Massachusetts
            General Laws, Chapter 15A, sections 10 (g).


  University of Massachusetts Lowell Alcohol Policy

  General Policy Regulations

  Federal, state, Local and University Sanctions for the unlawful use, possession, distribution, sale, manufacture, or production of alcohol except as
  may be provided in the University of Massachusetts Lowell Alcoholic Beverage Policy (Attachment A hereto):

       1. No person, group, or organization shall sell, dispense, produce or manufacture alcoholic beverages, with the exception of those areas
          and/or events approved by the Chancellor.
       2. No person shall sell, give, serve, or use alcoholic beverages to or by those under the legal age, as prohibited by Massachusetts Law.
          Possession of alcoholic beverages by those under 21 years of age is prohibited by Massachusetts Law.
       3. No person shall operate a motor vehicle while under the in uence of alcohol.
       4. No alcoholic beverages shall be sold, dispensed, or delivered to a person who would be deemed by a reasonable person to be
          intoxicated, or to a person who is known to have been intoxicated within six months of the last proceeding.
       5. No person under 21 years of age shall transport, purchase, sell, possess or receive alcoholic beverages unless accompanied by their
          parent or legal guardian. A person who is over the age of 18 may transport or carry alcoholic beverages in the course of their bona de
          employment in an establishment licensed to sell alcoholic beverages.
       6. No person under 21 years of age shall use the liquor identi cation card of another, or furnish false identi cation in obtaining such a card,
          or alter or deface such a card.
       7. No person shall supply their liquor identi cation card to someone under 21 years of age, or provide to another a false identi cation card
          for their personal use.
       8. No person shall appear in a state of intoxication in a public place or disturb the peace in any manner while intoxicated.
       9. Students who are found in violation of these stated prohibitions may be subject to arrest and conviction under the applicable criminal
          laws of the Commonwealth. Conviction can result in sanctions including probation, nes and imprisonment.
      10. Students who are found to be in violation of these stated prohibitions are subject to discipline in accordance with the requirement of the
          University’s Student Conduct Code and Disciplinary Process.
      11. Employees found to be in violation of these stated prohibitions are subject to disciplinary action in accordance with any applicable
          bargaining agreements.

  The above listed general policy regulations should not be considered as an exhaustive restatement of the pertinent Federal, State and local laws
  regarding the use of alcohol. All members of the University of Massachusetts Lowell community are expected to acquaint themselves with and
  abide by all laws governing the acquisition, possession, transportation, consumption and sale of alcoholic beverages.

  Residence Hall Alcohol Policy

  As in accordance with the laws of the Commonwealth, no alcoholic beverages shall be o ered, gratuitously or for sale, to a person under the age
  of 21, either privately or at a group function, whether it is at an approved function or informal gathering in the residence halls. The possession,
  consumption or being in the presence, of alcoholic beverages in the residence halls by a person less than twenty-one years of age is prohibited.

       1. Students under the age of 21 years are not permitted to possess, consume, or be in the presence of alcoholic beverages. A resident or
          guest who is of legal drinking age may possess and consume alcoholic beverages in the residence hall only in the privacy of the resident’s
          own room or in the room of another resident who is of legal drinking age and who is present during the consumption. The door of the
          room must be kept closed. Alcohol and alcohol containers, including decorative bottles and cans, whether empty or full are prohibited
          from Halls at all times. Behaviors committed under the in uence of alcohol will be considered a violation of the Alcohol Policy.
       2. The purchase or delivery of alcoholic beverages in the residence halls, gratuitously or for sale, to a person under the age of 21 is
          prohibited and shall constitute a major infraction of University regulations. Commercial deliveries of alcoholic beverages to the residence
          halls are prohibited.
       3. Only residents of legal drinking age may bring alcoholic beverages into their own residence hall. At no time may a guest of any age or
          resident under the age of 21 bring alcoholic beverages into a residence hall. University Police or Residence Life sta will con scate all
          alcohol in the possession of any guest or resident students under the age of 21 in public areas; in addition, any open containers of alcohol
          will be con scated regardless of age.
       4. The possession or use of alcoholic beverage containers such as kegs, partial kegs, mini-kegs, punch bowls, beer balls or any common
          containers, whether partially full or empty, in any residence hall or grounds by anyone, whether of legal age or not, shall constitute a
          major infraction and will result in immediate removal from housing. The possession or use of funnels is strictly prohibited.
       5. Drinking games, funnels, drinking challenges, and other methods that promote consumption of alcohol in an accelerated manner are
          expressly forbidden.
       6. Upon request by University personnel (i.e. residence hall sta , University Police, administration personnel) residents must provide a valid
          form of identi cation upon entering a residence hall or while transporting or consuming alcoholic beverages within a building or on
          University grounds.



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         7. In the event that a resident or guest is deemed by University Police or Residence Life sta to be intoxicated, the resident and or guest will
            be asked to remain in the residence hall under host supervision until determination can be made that the intoxicated person(s) is in a
            safe condition. In addition, drunken disorderliness in any University building or grounds is prohibited and shall constitute a major
            infraction of University regulations. In a situation where a student is determined to be in an unhealthy state the University Police or Sta
            may call the parent or guardian to take custody of their student.
         8. All persons are prohibited from drinking alcoholic beverages or having open or previously opened alcoholic beverage containers in all
            residence hall public areas, including hallways, stairwells, bathrooms, lounges, lobbies, and outside grounds including, stairs, lawns, roofs,
            parking lots, patios, etc.
         9. Parties and gatherings where alcohol is present, informally or otherwise, are strictly prohibited in all residence halls. Any gatherings
            where more than two guests per occupant are present, and alcohol is present will constitute a party or gathering and may be disbanded
            by University Police or Residence Life sta . In these events, the alcohol will be con scated regardless of the amount or age of the
            residents.
        10. No more than 1 open container, cup, bottle or can may be present for each individual above the legal drinking age when in the presence
            of underage individuals in a room occupied by of age students. University sta will construe additional open containers in excess of the
            number of legal age individuals as consumption by minors.
        11. Alcohol may not be stored or displayed in suite common areas unless all assigned occupants are of legal drinking age, this includes empty
            decorative bottles and cans.

  Health Risks

  Alcohol consumption causes a number of marked changes in behavior. Even low doses signi cantly impair the judgment and coordination
  required to drive a car safely, increasing the likelihood of an accident. Low to moderate doses of alcohol also increases the incidence of a variety
  of aggressive acts, including domestic violence and physical altercations. Moderate to high doses of alcohol cause marked impairment in high
  mental functions, severely altering a person’s ability to learn and remember information. Very high doses cause respiratory depression and death.
  If combined with other depressants of the central nervous system, much lower doses of alcohol will produce the e ects just described.

  Repeated use of alcohol can lead to dependence. Sudden cessation of alcohol intake is likely to produce withdrawal symptoms, including severe
  anxiety, tremors, hallucinations and convulsions. Alcohol withdrawal can be life threatening. Long-term consumption of large quantities of
  alcohol, particularly when combined with poor nutrition, can also lead to permanent damage to vital organs such as the brain and liver. Mothers
  who drink alcohol during pregnancy may give birth to infants with fetal alcohol syndrome. These infants have irreversible physical abnormalities
  and mental retardation. In addition, research indicates that children of alcoholic parents are at greater risk than others of becoming alcoholics.

  Sanctions

  Alcohol Policy Violation Minimum Sanctions:

  Violation                                                      Sanctions

  First time in the presence of                                  Written reprimand
                                                                 $25 ne*
                                                                 AOD education
                                                                 Parental noti cation for students under 21

  First use / possession / second in presence                    Written reprimand
                                                                 $75 ne*
                                                                 AOD education
                                                                 Parental noti cation for students under 21

  Second use / possession / subsequent in the presence of        Probation for a minimum of one academic year
                                                                 $100 ne*
                                                                 AOD education
                                                                 Parental noti cation of students under 21

  Subsequent use/possession                                      Consideration of removal from housing
                                                                 Probation for a minimum of one academic year
                                                                 $100 ne*
                                                                 AOD education
                                                                 Parental noti cation for students under 21

  Alcohol violations requiring medical intervention              Written reprimand
                                                                 $100 ne*
                                                                 AOD education
                                                                 Parental noti cation for students under 21

  Second alcohol violations requiring medical intervention       Probation for a minimum of one academic year
                                                                 $100 ne*
                                                                 AOD education
                                                                 Parental noti cation for students under 21
                                                                 Possible meeting with student and parents based on age of student and nancial dependency

  Subsequent alcohol violations requiring medical intervention   Consideration of removal from university housing
                                                                 Probation for a minimum of one academic year
                                                                 AOD assessment by o -campus provider (see below, Alcohol and Other Drug Education Program, step 4)

  Providing to minors/sale/distribution                          Consideration of status sanctions ranging from probation to suspension or expulsion
                                                                 $75 ne
                                                                 AOD education
                                                                 Parental noti cation for students under 21

  Decorative bottle sanctions                                    Written reprimand



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  *Fines collected as sanctions are utilized for Wellness/Substance Education.

  Referral/Resources for Alcohol-Related Problems

  Services and resources are available to all members of the University community to provide accurate information relating to alcohol, to support
  individual needs and to assist at crisis points. Listings of resources on campus are available by calling the Counseling Center (at 978-934-4331),
  University Health Services (at 978-934-4991), Human Resources (at 978-934-3555) or Student A airs (at 978-934-2100).

  In addition, individuals who wish to enroll in an alcohol rehabilitation program should check the University’s insurance or their own insurance to
  verify if they are covered for these services.


  Drug-Free Schools and Campuses Drug Policies and Regulations
  Please see Appendix B for the University’s Alcohol Policies and Regulations.

  No students shall knowingly sell, possess, manufacture, distribute or use on or o campus, substances de ned by Federal or State law as illegal.
  Use/possession/sale/sharing of prescription medication that is not prescribed to a student is a violation of the Student Conduct Code, as well as a
  violation of the law. Additionally, the possession of drug paraphernalia is a violation of the Student Conduct Code. Paraphernalia is de ned as any
  device used to use illegal drugs. This includes but not limited to: Bongs, Pipes, Rolling Papers, etc. It is the policy of the University of
  Massachusetts Lowell to maintain a drug free workplace. As a condition of employment, all University employees are required to follow this
  policy.

  Medical Marijuana Clause

  Although Massachusetts law permits the use of medical marijuana, federal laws prohibit the use, possession, and/or cultivation of marijuana at
  educational institutions. Federal laws also require any institution of higher education which receives federal funding to have policies prohibiting
  the possession and use of marijuana on campus. The use, possession, or cultivation of marijuana for medical purposes is therefore not allowed
  in any University housing or on any other University property. The University will continue to enforce its current policies regarding controlled
  substances, and any students, faculty or employees who violate University policy prohibiting the use or possession of illegal drugs on campus,
  may be subject to disciplinary action.

  Health Risks

  Illegal drugs and misuse of controlled prescription drugs pose short and long-term health risks to the user. Categories of drugs include narcotics,
  barbiturates, stimulants, and hallucinogens (not to be confused with classes of drugs according to Commonwealth of Massachusetts Drug Laws).
  Not only is the drug risky, the route of administration or the way the drugs is taken into the body is also correlated with certain health risks.

  Some drugs are smoked (marijuana, “crack”, opium, “crank”). Smoking any substance, especially marijuana, is found to have a detrimental e ect
  on the lungs and upper airway.

  Other drugs are “snorted” or inhaled (cocaine, heroin, inhalants) leading to injury of the lining of the nose.

  Many drugs are ingested and some drugs are injected under the skin (skin-popping). Drugs that are injected directly into a vein (main lining)
  include heroin, cocaine and morphine. Injecting drugs has severe risks of local infections, bacterial endocarditis, increased incidences of HIV and
  Hepatitis B and C. Permanent liver and kidney disease are possible outcomes of drug use. Scars or “track marks” are formed by repeated
  injections. Veins harden internally from repeated use.

  Mind or mood altering drugs work in certain “pleasure” pathways of the brain by enhancing or altering chemicals called neurotransmitters. There
  can be permanent change in these pathways with heavy and prolonged use of cocaine. Street drugs are “cut” with often unknown and dangerous
  substances, which can make the user very ill or even cause death.

  Short-term health risks of illegal drug use are: decreased judgment and perception, decreased mental alertness, reduced motor skill often leading
  to motor vehicle accidents and bodily injuries, increased risk taking and aberrant behavior.

  Narcotics, especially heroin and morphine decrease the rate of respiration which may result in respiratory arrest then death, if not medically
  treated.

  Stimulants (cocaine, amphetamines, methamphetamines) produce exhilaration. There is a surge of adrenaline resulting in an increase in blood
  pressure and pulse rate, causing blood vessels to constrict. These changes can cause strokes, paralysis, heart attacks and death. These events can
  occur with the rst or any subsequent use. The myth is that sexual activity is increased with cocaine use. The fact is that sexual activity is
  decreased with increased use of cocaine.

  Hallucinogens produce and increase in sensor perception (visual and or auditory). There may be ashbacks from prior use of LSD and STP. Use of
  these drugs can result in short and long-term psychotic events. Deaths and serious injuries often happen to those under the in uence of certain
  hallucinogens (LSD, STP and PCP). Drinking alcohol with substances, produces and additive e ects, making the alcohol and drugs more potent.

  Certain tranquilizers, especially in high doses cause disturbances in cardiac conduction. Vomiting is always a threat in drug use. It can cause
  choking and ultimately death, because the person’s re exes are diminished. “Roo es” and Liquid Ecstasy produce sedation and loss of memory.
  When put into drinks, an unknowing victim becomes sedated and could be raped with no memory of the event.




https://www.uml.edu/student-services/student-conduct/conduct-code/#appeals                                                                         17/20
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  Use of drugs during pregnancy has e ects on the baby. Women who use cocaine and heroin during pregnancy have an increase in miscarriages.
  They give birth to babies addicted and usually of low birth weight. The infant must go through a di cult withdrawal. Long term e ects in these
  children are not yet known.

  Addiction is a major risk of using illegal and controlled prescription drugs. Heroin, codeine, opiates, barbiturates, and morphine are strongly
  physically addicting. Cocaine procedures both physical and psychological addition. Withdrawal from narcotics, barbiturates and cocaine is di cult
  and painful. Drug users often return to using drugs. Over time, the drug user usually su ers from malnutrition and a lowered immune system.
  They often become seriously ill requiring hospitalization from multiple organ failure, overwhelming infections, psychotic events, injuries from
  accidents, or drug-related violence.

  All students/employees at the University of Massachusetts Lowell are expected to abide by all federal, state and local laws, including those
  regulating the use, possession, sale, distribution, manufacture and cultivation of illicit or illegal drugs.

  In addition, Congress amended Title XII of the Higher Education Act of 1965 by adding a section pertaining to Drug Free Schools and Campuses.
  Under this and other newer amendments any institution receiving federal funds, including federal student loan programs, must adopt and
  implement policies to prevent the use of illegal drugs and alcohol by students and employees.

  Therefore, it is the University’s responsibility to ensure that every student/employee is aware of the following information:

  Sanctions

  Drug Policy Violation Minimum Sanctions:

  Violation                                Sanctions

  First use / possession / presence/       Written reprimand
  paraphernalia                            $75 ne*
                                           AOD education
                                           Parental noti cation for students under 21

  Second use / possession / presence /     Consideration of removal from housing
  paraphernalia                            Probation for a minimum of one academic year
                                           $100 ne*
                                           AOD education
                                           Parental noti cation of students under 21

  Subsequent use / possession/ presence / Consideration of status sanction up to university suspension for one academic year
  paraphernalia                           $100 ne*
                                          AOD education
                                          Parental noti cation for students under 21

  Possession of an ounce or less of        In accordance with Massachusetts State Law, all students found in possession of one ounce or less of marijuana, who are not determined to have the
  marijuana                                intent to distribute, will be subject to a $100 ne.
                                           Students who are 17 or under will be required to attend a substance education program as proscribed by the State Juvenile System.

  Possession with intent to distribute/    Consideration of status sanction up to university suspension for one academic year
  supply                                   $100 ne*
                                           AOD education
                                           Parental noti cation for students under 21

  Sale or distribution                     Consideration of status sanction up to university suspension for one academic year
                                           $100 ne*
                                           AOD education
                                           Parental noti cation for students under 21

  Manufacture/ cultivation                 Consideration of status sanctions ranging from probation to suspension or expulsion
                                           $100 ne*
                                           AOD education
                                           Parental noti cation for students under 21

  *Fines collected as sanctions are utilized for Wellness/Substance Education.



  Alcohol and Other Drug Education Program

  The following options exist for Alcohol and Drug O enses, and are used progressively, beginning with the program that is deemed to best meet
  the needs of the student, as determined by the Conduct O cer:

         1. An on-line program taken by the student that provides both education and a personalized assessment and feedback.
         2. A group-based workshop, designed to provide education and personalized feedback, taught by a Health Educator.
         3. An individual assessment meeting with either a UMASS Lowell sta counselor or an Addiction Specialist; this determination will be made
            by the Conduct O cer or the Associate Dean of Student A airs or their designee.
         4. The requirement that a student seek alcohol or drug assessment by an o -campus provider, and follow the recommendations by that
            specialist, in order to continue in their academic coursework.
         5. Another variation of the AOD Education Program, the program assigned to students who are 17 or under and have been found in
            possession of an ounce or less of marijuana. This program is administered through the Judiciary of the State of Massachusetts.

  Federal, State and Local Sanctions

  For unlawful use, possession, distribution, sale manufacture and cultivation of illicit drug. For speci c sanctions please contact the authorities.

https://www.uml.edu/student-services/student-conduct/conduct-code/#appeals                                                                                                                 18/20
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  Referrals/Resources for Drug-Related Problems

  Services and resources are available to all members of the University community, to provide accurate information relating to drugs and alcohol,
  to support individual needs and to assist at crisis points. Listings of resources on campus are available by calling the Counseling Center (978-934-
  4331), Student Health Services (978-934-4991) and the Human Resources O ce (978-934-3555).

  De nitions

  The following de nitions apply to the Drug and Alcohol Policies for the University of Massachusetts Lowell community, including students and
  guests:

            University: Area under jurisdiction of the University-includes all (1) property occupied, leased or used by the University; (2) property
            owned, occupied, leased or used by the University of Massachusetts Lowell; and (3) property occupied or used by any other university-
            recognized organization and all campuses and all leased space or space occupied with a user permit or license for the conduct of
            University business.
            Controlled Substance: any substance in schedules I. through V. of section 202 of the Controlled Substances Act (21 U.S.C. 812);
            Conviction: a nding of responsible (including a plea of no lo contender) or imposition of sentence, or both, by any discipline body
            charged with the responsibility to determine violations of the Federal or State criminal drug statutes.
            Employee: elected or appointed o cers or employees, including all members of the University faculty and sta whether serving full or
            part-time, temporary or permanent, compensated or uncompensated.
            Manufacture: the production, preparation, propagation, compounding, conversion or processing of a controlled substance.
            Possession: the knowing or intentional possession of a controlled substance; having direct physical control over a controlled substance.
            Student: all persons taking courses at the University, either full-time or part-time; pursuing undergraduate, graduate, or professional
            studies; persons who withdraw after allegedly violating the Student Conduct Code; persons who are not o cially enrolled for a particular
            term but who have a continuing relationship with the University; persons who have been noti ed of their acceptance for admission; or
            persons who are living in University residence halls or apartments, although not enrolled in this institution.


  Guidelines for Responses to Demonstrations on University Property
  The University of Massachusetts recognizes the rights of members of the University community to freedom of assembly and speech, and strongly
  believes in fostering discourse and the free exchange of ideas at the University. However, as a matter of law and University policy, these rights
  and interests are restricted, and must be exercised on University property in a manner consistent with the mission and operation of the
  University and the rights of other members of the University community. Accordingly, the University long ago adopted policies and procedures at
  each of its campuses which take into account these countervailing interests.
  Nonetheless, some members of the University community on occasion have exceeded the bounds of appropriate expression during the course of
  demonstrations, by interfering in the educational activities and business of the University and with the rights of others. It is therefore desirable to
  re-a rm the importance of appropriate time, place and manner restrictions on demonstrations. Accordingly, and in order to provide further
  consistency in the application of the University policies to on-campus protests, the O ce of the President is issuing the following guidelines for
  responding to demonstrations on University property

            All campuses shall routinely and consistently apply the provisions of their respective codes of conduct and other relevant policies and
            procedures to on-campus demonstrations.
            The campuses shall take steps through appropriate procedures to hold demonstrators accountable for actions which violate University
            policies and regulations. Such improper actions include but are not limited to:
                     Material disruption of or interference with instructional activities, other University business and campus events;
                     Actual or threats of physical violence, or other forms of harassment, or destruction of University, other public or private property-
                     Interference with free entry to or exit from University facilities and free movement by individuals; and
                     Interference with the rights of other members of the University community to freedom of speech and assembly, and other rights.
            Demonstrations are limited to appropriate public forums, which do not include, among other locations, faculty and administrative o ces,
            classrooms and other instructional facilities. (Public forums are locations which by tradition or policy are available for public assembly and
            speech – such as a student union lobby where students have traditionally gathered to debate issues.) to the extent that a public forum
            exists within a University building, any demonstrations within that forum shall take place only during the building’s normal operating
            hours.
            Where appropriate, the University shall endeavor to maintain open lines of communication with demonstrators and to provide
            opportunities for discussion of matters in dispute so long as the demonstrators act consistent with University policy and the rights of
            others. However, as a general rule, the University shall not negotiate with individuals who occupy any University facility, or with associated
            demonstrators, while any such occupation continues, and shall never negotiate within an occupied facility.

  These guidelines are intended to support, not supplant, existing University policy. They apply to all members of the University community,
  including undergraduates, graduate students and employees as well as to guests and visitors. The guidelines should be implemented as
  consistently as possible, recognizing that special circumstances may on rare occasion require limited and judicious deviation from the guidelines.
  Further information on demonstrations can be found on the Policy Portal page.


  UMass Lowell Good Samaritan Policy

  Policy Statement

  Student health and safety are primary concerns of the University of Massachusetts Lowell community. Students may be reluctant to seek help in
  alcohol and drug-related emergencies because of potential conduct consequences for themselves, the person in need of assistance, or the
https://www.uml.edu/student-services/student-conduct/conduct-code/#appeals                                                                            19/20
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  organization hosting the event where the situation occurs. Since these emergencies are potentially life threatening, UMass Lowell seeks to reduce
  barriers to seeking assistance. To this end, this Good Samaritan Policy has been developed.

  Purpose

  The Good Samaritan Policy represents the University’s commitment to increasing the likelihood that community members will call for medical
  assistance when faced with an alcohol or drug-related emergency. The policy also promotes education for individuals who receive emergency
  medical attention related to their own use of alcohol or drugs in order to reduce the likelihood of future occurrences.

  De nitions

  Signs of serious intoxication/impairment include:

            Inability to rouse the person with loud shouting or vigorous shaking
            Passed out
            Semi-conscious; person goes in/out of consciousness
            Slow (< 8 breaths/minute) or irregular breathing or lapses in breathing of 10 seconds or more
            Cold, clammy, or bluish skin
            Vomiting while passed out, not waking up after vomiting, or incoherent while vomiting

  Procedures

  Students are expected to contact the University Police (978-934-4911 or 4-4911) when they believe that assistance for an intoxicated/impaired
  person is needed on campus. Students should seek immediate help if any of the above signs are present, as they indicate a potentially life-
  threatening emergency. UMLPD will assist intoxicated/impaired individuals by facilitating transport to medical facilities or by taking other
  protective measures. In case of an o -campus medical emergency, students should call 911 for assistance by local police or medical
  professionals. If the intoxicated/impaired individual is located within a residence hall, a Resident Assistant (RA), , Resident Director (RD), and/or
  Area Coordinator (AC) should also be noti ed after UMLPD is called. A severely intoxicated/impaired individual should never be left alone;
  therefore, at least one person should stay with the intoxicated/impaired individual while another person noti es the RA//RD/AC.
  Whenever a student assists an intoxicated /impaired person in procuring the assistance of UMLPD, local or state police, residence life sta , or
  medical professionals, neither the intoxicated individual nor the individual who assists will be subject to formal university disciplinary actions for
  (1) being intoxicated or (2) having provided that person alcohol. (This protocol does not preclude disciplinary action regarding other violations of
  university standards, such as causing or threatening physical harm, sexual assault, damage to property, harassment, hazing, etc. Students should
  also be aware that this policy does not prevent action by local and state authorities.) UMLPD and/or Residence Life sta will record names of
  intoxicated students to enable any follow-up that may be deemed necessary to ensure students well-being. Other information may also be as
  needed.
  In order for this policy to apply, the intoxicated student(s) must agree to timely completion of recommended alcohol or drug education activities,
  assessment, and/or treatment depending on the level of concern for student health and safety. In addition, if the student is under 21 years of age
  their parents will be noti ed. If the student does not follow these stipulations, they have violated the Good Samaritan Policy and are subject to the
  complete range of sanctions and penalties as outlined in the Student Conduct Code for an alcohol or drug violation.
  The Good Samaritan Policy may be used more than once. Students and organizations that help others seek medical assistance are not limited to
  one use of the Good Samaritan Policy, as they should always feel empowered to help those in need. However, serious or repeated incidents will
  prompt a higher degree of medical concern and formal response from the University which may include an intervention and/or conduct action.
  Questions regarding the UMass Lowell Good Samaritan policy should be directed to the Dean of Students O ce.




https://www.uml.edu/student-services/student-conduct/conduct-code/#appeals                                                                          20/20
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                  Exhibit B
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                                                                            DIVISION OF STUDENT &
                                                                                 ACADEMIC AFFAIRS
                                                                         Office of Student Rights & Responsibilities
                                                                                                  220 Pawtucket Street
                                                                                        University Crossing – Suite 200
                                                                                              Lowell, MA 01854-5142
                                                                                               Phone: (978) 934-2100




September 7, 2023

      John Doe
Sent electronically to     John_Doe@student.uml.edu

                                                                 PERSONAL AND CONFIDENTIAL

Regarding Case Number: 2022156002

September 7, 2023

Dear John :

This letter is to inform you of the decision of the Hearing Panel which was held on August 22, 2023 for
the incident that took place on or around May 7, 2023.

The below findings and sanctions, if applicable, were determined for each alleged Student Conduct Code
charge, based on the "preponderance of the evidence” and all of the information provided.

A.02.f. Sexual Misconduct -- Responsible

Due to the above stated findings the following sanctions have been put into effect:




         Due to the nature of this incident and the charges and findings against you, you have been
         permanently banned from University Housing. For the remainder of your time at the University,
         you are trespassed from all University Housing buildings and may only access public spaces in
         the residence halls. This ban is effective September 10, 2023.

         If you were previously living in a residential space, you must check out of your room no later
         than 5pm on September 10, 2023. Please make an appointment with your Area
         Coordinator, Resident Director, or Residence Life staff member to check out of your room and
         return your keys. You can contact them via email or by calling the staff office. This information
         can be found at http://www.uml.edu/student-services/reslife/staff/Resident-Directors.aspx. Your
         meal plan will automatically be cancelled, along with your housing assignment. If you wish to
         keep your meal plan, please contact the Office of Residence Life within one (1) business day
         from receipt of this letter.
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         Per the housing contract: Students removed from housing or prohibited from living on campus as
         a result of a Student Conduct Code sanction will be assessed the cancellation fee, will not
         receive a housing refund, and will be held accountable to the terms of this housing agreement.
         Meal Plan charges may be prorated for portions used.

         In addition, you are prohibited from entering any UMass Lowell Residence Halls, with the
         exception of the University Dining Commons in Fox Hall and the Dining Hall at the Inn and
         Conference Center. The UMass Lowell Police have been notified of this status, and any attempt
         to enter the residence halls will result in future action through the University Conduct Process.

         As a result of your incident, you have been placed on Elevated Probation from September 7,
         2023 to through graduation. During this time a student's status with the University can be at
         jeopardy in the case of further violations of the Student Conduct Code. Further violations of the
         Student Conduct Code may result in housing removal, suspension, or expulsion from the
         University. Probationary status does not appear on your transcript but remains a part of your
         disciplinary record for seven years after completion of all sanctions, and is reported to inquiring
         parties when background checks are conducted.
         Student must engage in research of and completion of an approved consent training required
         prior to registering for future classes. Once proof of an appropriate consent training is provided
         and approved, the respondent can resume registering for courses on campus. The course may be
         taken online or in person, but must be approved by the Office of Student Rights &
         Responsibilities as appropriate.
         The continuation of and/or issuance of no contact orders between all complainants as well as
         witness                GD         and      John Doe      .

Rationale for Findings and Sanctions are found in the attached deliberation document.

Should you choose to appeal the decision, you must submit your appeal by September 21, 2023 by 4pm.
Your appeal must be submitted electronically at
https://cm.maxient.com/reportingform.php?UMassLowell&layout_id=5. The appeal must be in writing
based on one of the three criteria identified in the Appeals Section of the Student Conduct Code (revised
August 2020). Information can be found by following the link
provided: https://www.uml.edu/student-services/Student-Conduct/conduct-code/.




If you have any questions do not hesitate to contact me.

Sincerely,
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Kate Legee, M.S., M.A.
Director of Student Conduct

CC: Ann Ciaraldi, Associate Dean of Student Affairs
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                                        Panel Deliberation Form

Hearing Panel Date: August 22, 2023

Student Name:           John Doe

Hearing Panel Members: Kate Legee (Chair), Esmarelda Levesque, Adam Dunbar

Alleged Violations:
Violation: Sexual Misconduct
        Sexual Misconduct: unwelcomed conduct of a sexual nature when: submission to or rejection of
        such conduct by a person or persons is used as a basis for employment or educational decisions
        affecting such person or persons, or participation in University programs or activities; or such
        conduct unreasonably: interferes with a person or person's work or academic performance;
        interferes with or limits a person or person's ability to participate in or benefit from a work or
        academic program or activity; or creates an intimidating, hostile, or offensive working or
        academic environment.

Response: Respondent did not attend the hearing panel. The hearing panel considered Respondent’s
statements to the investigator as well as his July 30, 2023 written response to the investigation report in
reaching its findings.



Hearing Panel Findings:
Charge: Sexual Misconduct

Material findings of fact:
During the investigation interviews, as well as in the hearing on August 22, 2023, the complainants and
witness described respondent        John Doe        engaging in multiple sexual comments and touches
without consent or prior warning. All complainants stated that the comments made by           Doe were
not welcome.           Doe'sJuly 30, 2023 response to the investigation report indicates that he agrees
that many of the comments did occur with the complainants and witness, all of whom he met as a
student in the residence halls. The following comments and actions are confirmed as fact by all parties
involved in each incident:      Doe hugged female students, Doe             stated to     SK     “I don’t
need to someone to have sex with,” and         Doe ’s ‘comparison of unwanted sexual conduct with
unwanted religious proselytism was provocative but apt…’ Further, multiple witnesses indicated that
     Doe moved          JT ’s feet without consent. There were discrepant reports about the specific
comment about sex while eating food and about the reference to shaving pubes and testicles.

Witness      GD      stated that     Doe stated “what if I stuck my penis in your face?” This
statement, according to       GD in the hearing panel on August 22, 2023, caused her to feel fear
and confusion about      Doe s intent in the moment.        Doe states that he did compare
unwanted sexual conduct to religious proselytism in this conversation and meant to do so in
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disagreement with both. In the hearing panel on August 22, 2023,        GD        stated that this
comment was not welcome.

 CTZ           stated in the hearing panel on August 22, 2023, that when she did see          KG and
   Doe     , she waved at them. In his interview with the investigator, KG            stated that “    CTZ
came out and waved her hand and a wine bottle. It was informal because they were on duty and he
doesn’t have the relationship for them to do that. He just waved back and told Doe they’re
probably just enjoying themselves.” In his interview with the investigator,      Doe stated that when
he and KG             saw CTZ            , she waved the wine bottle at them. In his response to the
investigation report,     Doe     stated that     CTZ        told    KG      that “I know you’ll snitch on
me.” Witness         CTZ      stated in the hearing panel on August 22, 2023 that she and other students
were, in fact, drinking on the night of May 6, 2023. She stated that she did not make any statements to
          KG        , nor   Doe      related to not “snitching” on them.

In the hearing panel on August 22, 2023, as well as in her interview with the investigator,        CTZ
stated that Doe        told her “If the food is good, I’d have sex while eating.” She did not welcome this
comment. In his interview with the investigator, Doe          stated that he does not remember saying
the word sex while talking about food, but that he may have done so. In his response to the
investigation report, Doe        stated that CTZ             may have misunderstood what he was saying
in regard to food, and that he may have been speaking similar to the popular hashtag #foodporn.

   JT      stated in her interview with the investigator as well as in the hearing panel on August 22,
2023, that Doe         touched her legs with his hands, and possibly with his feet, without her consent to
place her feet on the shaker plate. In his response to the investigator’s report, Doe         stated that he
used his feet to move her feet. This was confirmed by Witness DI            in the investigator’s report. In
the hearing panel on August 22, 2023, Tardanico stated that she did not welcome the touching of her
feet by Doe        .

In the hearing panel on August 22, 2023, JT         stated that   Doe        touched her thigh without
consent when he attempted to show her a video on his phone.       Doe        denied ever touching any
other students, in either an inappropriate or appropriate manner.

  JT       stated in the investigator’s interview and the hearing panel on August 22, 2023 that
   Doe      made a comment to her about shaving his pubes and to several students shaving his testicles
while there was a group of students together in his room to look at his workout equipment. This was
confirmed by witness        RR in the investigator’s report. In the hearing panel on August 22, 2023,
the investigator stated that she learned that      RR     was there during the comment from Witness
    DI , and not from any other party involved; this is why she asked him to provide his account.
   Doe      denies making these statements, as does Witness       DI

  JT      stated, in both her interview with the investigator as well as the hearing panel on August 22,
2023, that she would be hugged by Doe          without him asking to hug her, but rather by him
approaching her closely with outstretched arms to embrace her. She stated that she did not feel
comfortable with these hugs. In his interview with the investigator, he stated that he and JT were
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close friends, and that she had made him a valentine. In his response to the investigation report,
   Doe      stated that his request for hugs were not unwelcome.

In her interview with the investigator, as well as the hearing on August 22, 2023, SK             indicated
that Doe         told her “I don’t need someone to have sex with, I just want someone to cuddle with,”
and “I’ll be alone, so I’ll just jerk off and go to bed.” In the interview with the investigator,   Doe
stated he did not make any comments of this nature. In his response to the investigator’s report,
     Doe stated that he said “I don’t need to someone to have sex with.” In the hearing panel on
August 22, 2023, SK               stated that she did not welcome the comment.




Finding: Responsible

Rationale: In the hearing on August 22, 2023, JT     ,         CTZ              SK    , and    GD         all
stated that the conduct by Doe        was not welcome.

As noted above, related to the comment “what if I stuck my penis in your face” in conversation with
  GD         ,  Doe    states that he did compare unwanted sexual conduct to religious proselytism in
this conversation and meant to do so in disagreement with both. With this context of intent assumed as
fact, the statement remains unwelcome by the recipient.

Related to the comment in conversation with CTZ             , Doe       stated that he does not
remember saying the word sex while talking about food, but that he may have done so. In his response
to the investigation report, Doe       stated that CTZ         may have misunderstood what he was
saying in regard to food, and that he may have been speaking similar to the popular hashtag #foodporn.
With this context of intent assumed as fact, the statement remains unwelcome by the recipient.

Related to moving JT          s feet without her consent, Doe         stated that he did so to move her
feet on the shaker plate, and did so with his own feet. This touching was unwelcome and no party noted
any conversation asking for consent.

    JT      stated that Doe      would hug her without asking until his arms were outstretched and she
felt obligated to engage. Doe        stated that his hugs with JT       were not unwelcome. With this
context of intent assumed as fact, the hugs were not welcome by the recipient.

  SK        stated that the comments that Doe       made about sex were not welcome. Doe
stated that he said to Doe      “I don’t need to someone to have sex with.” This comment was not
welcome by the recipient.

The comments to SK             ,   CTZ        and GD             , as well as hugs and touching of
  JT      ’s feet constitute a pervasive pattern of unwelcome conduct related to sex directed to female
students. These comments affected SK             , who left the room after the comment occurred to avoid
   Doe s conduct, and asked to not be on duty with             Doe afterward. JT            and CTZ
                                        Case 1:23-cv-12077-WGY             Document 13-1         Filed 11/08/23       Page 31 of 38



                                          also indicated that they were not comfortable interacting with    Doe any longer, and that
                                   the interactions impacted their ability to work their student employment positions at UMass Lowell.


                                   Given the aforementioned information provided through the investigation, response to the report, and
                                   hearing , the panel finds that Doe ’s comments and touching actions were more likely than not
                                   unwelcome, were of a sexual nature, and created a working environment in an academic setting that
                                   was offensive for multiple female students. A reasonable person would find comments of a sexual
                                   nature in the academic living and working environment to be offensive. On the preponderance of
                                   evidence standard, this constitutes a violation of the sexual misconduct standard in the Student Conduct
                                   Code.



                                   Sanctions: Permanent housing removal, elevated probation through
                                   graduation, research of and completion of approved consent training
                                   required prior to registering for future classes, no contact orders between
                                   all complainants as well as witness GD                       and Doe

                                   Rationale: Sexual misconduct impacts members of the campus community tremendously. The
                                   respondent’s behavior in this case impacted multiple members of the student community. Past cases of
                                   findings of responsibility for sexual misconduct have led to sanctions ranging from elevated probation to
                                   housing removal, suspension, and expulsion.

                                   The complainants all indicated being made uncomfortable to a degree that shows a pattern of sexually
                                   inappropriate comments with females who live in university housing. All incidents occurred between
                                   female residents and the respondent while in university housing. By separating the respondent from
                                   university housing, further comments of this nature can be prevented from impacting other students in
                                   the residential community. The lowest sanction given in cases such as these would not remediate the
                                   effects of the actions.

                                   The panel believes completion of a self-researched and approved consent training that can show that
                                   the respondent has learned appropriate ways to interact with others in conversations related to sex to
                                   prevent further harm and enable him to partake in the academic community in appropriate ways. Once
                                   proof of an appropriate consent training is provided and approved, the respondent can resume
                                   registering for courses on campus. The course may be taken online or in person, but must be approved
                                   by the Office of Student Rights & Responsibilities as appropriate.




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                  Exhibit C
11/5/2023          Case 1:23-cv-12077-WGY
                   Amazon.com                                Document
                              : N A 3D Vibration Plate Exercise              13-1
                                                                Machine,Vibration        Filed 11/08/23
                                                                                  Platform,Whole                 PagePlatform
                                                                                                 Body Vibration Fitness 33 ofFit38
                                                                                                                                 Massage,for Home…

                     Delivering to Bakersﬁeld 93309
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 Consider these available items
                            AXV Vibration Plate                                            Best Choice Products                                            TODO Vibration Plate
                            Exercise Machine Whole                                         Vibration Plate Exercise                                        Exercise Machine Whole
                            Body Workout Vibrate                                           Machine Full Body Fitness                                       Body Vibration Machine
                            Fitness Platform                                               Platform for Weight Loss                                        with Remote Control for
                                               1,397                                                         3,178                                                        1,718
                            $
                             9999 - $22999                                                 $
                                                                                            8999 - $18699                                                  $
                                                                                                                                                            7999 - $8500
  Sports & Outdoors › Exercise & Fitness › Cardio Training › Vibration Platform Machines



    Subm                                                                          N A 3D Vibration Plate                                        Currently unavailable.
                                                                                  Exercise                                                   We don't know when or if this
                                                                                                                                              item will be back in stock.
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                                                                                  Machine,Vibration                                           Delivering to Bakersﬁeld 93309 -
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    Subm
                                                                                  Platform,Whole Body
                                                                                  Vibration Fitness                                          Add to List

    Subm                                                                          Platform Fit
                                                                                  Massage,for Home                                                    Have one to sell?
    Subm                                                                                                                                              Sell on Amazon
                                                                                  Fitness,Weight Loss &
    Subm                                                                          Shaping Green …
                                                                                  Brand: N \ A
                                                                                  4.3                  18 ratings
    Subm
                                                                                   | 4 answered questions


                                                                                  Currently unavailable.
                                                                                  We don't know when or if this item
                                                                                  will be back in stock.

                                                                                  Brand                      N\A
                                                                                  Material                   Acrylonitrile
                                                                                                             Butadiene Styrene
                                                                                                             (ABS)
                                                                                  Maximum Weight 330 Pounds
                                                                                  Recommendation
                                                                                  Controls Type              Remote

                                Roll over image to zoom in                        Display Type               LCD


                                                                                  About this item
                                                                                      ➤Fat Burning Easily- With a
                                                                                      maximum load of 330lbs, the speed
                                                                                      is variable during 1-120 to
                                                                                      maximize exercise intensity with
                                                                                      convenience and safety. With the
                                                                                      help of LCD display and remote
                                                                                      control. You can start burning
                                                                                      calories and tighten your skin at
                                                                                      any time. Weight loss and body
                                                                                      shaping have never been easier！


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11/5/2023           Case 1:23-cv-12077-WGY
                    Amazon.com                                Document
                               : N A 3D Vibration Plate Exercise              13-1
                                                                 Machine,Vibration        Filed 11/08/23
                                                                                   Platform,Whole                 PagePlatform
                                                                                                  Body Vibration Fitness 34 ofFit38
                                                                                                                                  Massage,for Home…
                                                                                   ➤Improve physical function- The
                                                                                   vibration plate will help you
                                                                                   generate whole body vibrations to
                                                                                   stimulate muscle tissue, restore
                                                                                   muscle tone, enhance bone density,
                                                                                   and promote metabolism. The
                                                                                   gentle therapeutic vibration will
                                                                                   awaken the muscles throughout
                                                                                   the body, improve blood circulation
                                                                                   and trigger myofascial release.
                                                                                   ➤Unique Design- Vibration speed
                                                                                   and time will be clearly dispiayed
                                                                                   on the LCD. Remote control or your
                                                                                   phone link to it through bluetooth
                                                                                   both can control the vibration
                                                                                   platform easily. Music can be
                                                                                   provided via Bluetooth when
                                                                                   exercising to inspire motivation or
                                                                                   relax yourself.
                                                                                   ➤Various exercise methods- The
                                                                                   exercise machine has a high elastic
                                                                                   resistance band and a sturdy
                                                                                   handle to help you perform more
                                                                                   diverse movements, which are both
                                                                                   fun and very eﬀective. The product
                                                                                   helps you exercise with vibration
                                                                                   massage to reduces weight. You
                                                                                   can also put your calf on the
                                                                                   product to relax the leg muscles to
                                                                                   reduce the muscle burden caused
                                                                                   by exercise.
                                                                                   ➤Complete home ﬁtness kit-with
                                                                                   LCD touch screen and huge
                                                                                   690x390 mm tread, which can
                                                                                   display vibration speed, time and
                                                                                   play music. Great bluetooth
                                                                                   speaker, sports leader, created by
                                                                                   ﬁtness training equipment and
                                                                                   experts, resistance band for whole
                                                                                   body training and sweat-proof
                                                                                   remote control.




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               Exercise Machine Whole              Exercise Machine -            Exercise Machine Whole       Exercise Machine Whole     Acupressure Fu
               Body Workout Vibrate                Whole Body Workout            Body Workout Vibrate         Body Workout Vibrate       Vibration Plate
               Fitness Platform Ly...              Vibration Platform Lym...     Fitness Platform Ly...       Fitness Platform Ly...     Machine,Burn
                             923                                 839                           367                          1,397                     1
               $99.99                              $99.99                        $119.99                      $139.99                    $69.99
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                                                                                                                                  Massage,for Home…

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               AXV Vibration Plate             Natini Vibration Plate           Natini Vibration Plate              AXV Vibration Plate                  AXV Vibration
               Fitness Platform Exercise       Exercise Machine Whole           Exercise Machine -                  Exercise Machine Whole               Exercise Machi
               Machine Vibrating               Body Vibration Platform          Whole Body Workout                  Body Workout Portable                Body Workout
               Lymphatic Drainage ...          Machine with ...                 Vibration Platform Lym...           Mini Vibrate Fitne...                Fitness Platfor
                             923                             436                              839                                367                                   1
               $149.99                         $139.99                          $99.99                              $99.99                               $119.99
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               (some sizes/colors)             (some sizes/colors)              (some sizes/colors)                 (some sizes/colors)                  (some sizes/colors




   Product Description

         description: 1?When using this machine, please make sure that the plug can be inserted and pulled out of the socket without any obstacle, so as to ensure
         that you can quickly cut oﬀ the circuit of the fat-removal machine. 2?Do not open the body of the fat-removing machine without permission 3?Do not fold
         the power cord or place the power cord on a sharp object. 4?If the device is dropped into the water, do not remove the device by hand, and unplug it 5?When
         the device is not used for a long time, when cleaning the device, or when the device fails, be sure to unplug the device and cut oﬀ the device circuit 6?Use the
         degreaser only indoors. Do not use the device on rainy or rainy days 7?Improper use of the product may cause minor injuries, please use it according to the
         instructions. Product details Color: Green Product Model: YD- 1010 Nominal power: 110V/50 Hz Quota power: 200 W Suitable ambient temperature: 10-40
         degrees Celsius Vibration function: Alternative surface vibration / Rocker vibration Vibrating plate area: About 64x34cm Weight: G.W.: 15.6 kg N.G.: 13.8 kg
         Maximum loaded weight: 150KG Number of ﬁtness programs predeﬁned: 5 Duration of a single ﬁtness program: Up to 15 minutes Duration of liberal
         exercise: 1-20 minutes Vibration frequency: Selectable vibration frequency in the Range from 5 to 11 Hz in 120 vibration levels Amplitude of vibration: 10
         mm from inside to outside Product Dimensions: 30.23 x 17 x 8.25 inches



   Product information

   Technical Details                                                                     Additional Information

        Handle Type                          Strap, Pulldown                                 ASIN                                         B09CD6JKCX

        Operation Mode                       Automatic                                       Customer Reviews                             4.3                      18
                                                                                                                                          ratings
        Power Source                         Corded Electric                                                                              4.3 out of 5 stars

        Brand Name                           N\A                                             Best Sellers Rank                            #751,377 in Sports & Outdoors
                                                                                                                                          (See Top 100 in Sports &
        Manufacturer                         N\A
                                                                                                                                          Outdoors)
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                                                                                                                                          Machines

                                                                                             Date First Available                         August 11, 2021


                                                                                         Feedback

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                      Amazon.com                                Document
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                                                                   Machine,Vibration        Filed 11/08/23
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                                                                                                                                    Massage,for Home…



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               Fitness Platform Exercise        Exercise Machine Whole      Exercise Machine Whole          Exercise Machine Whole   Vibration Plate Exercise
               Machine Vibrating                Body Workout Portable       Body Workout Vibrate            Body Workout Portable    Machine - Whole Body
               Lymphatic Drainage ...           Mini Vibrate Fitne...       Fitness Platform Ly...          Mini Vibrate Fitne...    Workout Vibratio...
                             923                             367                          1,397                          14                       2,062
               $149.99                          $99.99                      $119.99                         $149.99                  $179.99


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   Customer reviews                                                      Top
                                                                         Topreviews
                                                                             reviews

                       4.3 out of 5
   18 global ratings                                                 Top reviews from the United States

   5 star                                          64%                   Translate all reviews to English

   4 star                                          13%
                                                                              Teresa w.
   3 star                                          15%
                                                                                   nice
   2 star                                            0%              Reviewed in the United States on May 22, 2022
                                                                     Veriﬁed Purchase
   1 star                                            7%
                                                                     would have given 5 stars but the resistance bands serve no purpose. Besides that, I'm happy
     How customer reviews and ratings work                           with the purchase. Hand inserts allows you to do push ups.

                                                                     One person found this helpful

                                                                            Helpful         Report


                                                                              Forenza 55

                                                                                   We like everything, about the N A 3D Vibration Plate Exercise
                                                                     Machine,Vibration Platform!
                                                                     Reviewed in the United States on August 22, 2022
                                                                     Veriﬁed Purchase
                                                                     We like everything, about the N A 3D Vibration Plate Exercise Machine,Vibration
                                                                     Platform,Whole Body Vibration Fitness:The price, The looks, The performer, The silence
                                                                     operation, The shipping and handling, good and solid shipping material. The quality. We
                                                                     order this product to use it as a massage teraphy to relax those painful muscles inside some
                                                                     areas of the body deep behind that the professionals cannot reach with there hands. We are
                                                                     very satisface with the outcome. Thank you for letting me share this with others...
                                                                     The heavy the machine weight the better performer you get! This one is just perfect. Is very
                                                                     powerful, nice quality and colors, the remote is very easy to use. My wife and me "Loved it"


https://www.amazon.com/gp/product/B09CD6JKCX/ref=ppx_yo_dt_b_asin_title_o03_s00?ie=UTF8&psc=1                                                                       4/6
11/5/2023          Case 1:23-cv-12077-WGY
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                                                                Machine,Vibration        Filed 11/08/23
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                                                                                                                                 Massage,for Home…
                                                             It hold up to 330lbs. I only weight 212 pound. this maching is very silence and powerful. It
                                                             dosen't matter who is ridding it. It will "Rock you Away" Stress free! No more asking for
                                                             somebody in your home to give you a massage. This N A 3D Vibration Plate Exercise
                                                             Machine,Vibration Platform,Whole Body Vibration Fitness Platform Fit Massage,for Home
                                                             Fitness,Weight Loss & Shaping will do everything for you!

                                                                 Helpful         Report


                                                                    Carmen Ramirez

                                                                           Hace lo qu dice
                                                             Reviewed in the United States on May 14, 2023
                                                             Veriﬁed Purchase

                                                             Esta bien

                                                                 Helpful         Report

                                                             Translate review to English


                                                                    Anabella Jimenez

                                                                           No se conecta el control remoto, lo tengo que hacer manual.
                                                             Reviewed in the United States on July 6, 2022
                                                             Veriﬁed Purchase

                                                             Me gusta bastante, cumplio mis expectativas, pero el control remoto no se conecta o no
                                                             sirve, no lo puedo devolver ya que lo traje a otro pais.

                                                                 Helpful         Report

                                                             Translate review to English


                                                                    Rosemary

                                                                           Do Not use if you have a heart condition or High blood pressure.
                                                             Reviewed in the United States on May 19, 2022
                                                             Veriﬁed Purchase

                                                             It wasn't until I opened the package and read the directions did I see this information. The
                                                             return cost $35. buyer beware.
                                                             One person found this helpful

                                                                 Helpful         Report



                                                             See more reviews




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                                     Protect & Build Your                          Amazon Business Card
  Accessibility                      Brand                                                                                            Amazon Prime
                                                                                   Shop with Points
  Sustainability                     Become an Aﬃliate                                                                                Returns &
                                                                                   Credit Card Marketplace                            Replacements
  Press Center                       Become a Delivery Driver
                                                                                   Reload Your Balance                                Manage Your Content
  Investor Relations                 Start a Package Delivery                                                                         and Devices
                                     Business                                      Gift Cards
  Amazon Devices                                                                                                                      Your Recalls and
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                                        Host an Amazon Hub
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                                        Money




                                                                                English                 United States




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 Stream millions          Advertising           Score deals                         Books, art                   Audiobook        Start a Selling   Business
 of songs                 Find, attract,        on fashion brands                   & collectibles               Publishing       Account           Everything
                          and                                                                                    Made Easy                          For
                          engage                                                                                                                    Your
                          customers                                                                                                                 Business

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 radio show with          Groceries &           Internationally                     Happiness                    Scalable Cloud   & Original        Find Movie
 music you love           More                                                      Guarantee                    Computing        Audio             Box Oﬃce
                          Right To                                                                               Services         Performances      Data
                          Your Door

 Goodreads                IMDb                  IMDbPro                             Kindle Direct                Amazon Photos    Prime Video       Shopbop
 Book reviews             Movies, TV            Get Info Entertainment              Publishing                   Unlimited        Direct            Designer
 & recommendations        & Celebrities         Professionals Need                  Indie Digital & Print        Photo Storage    Video             Fashion
                                                                                    Publishing                   Free With        Distribution      Brands
                                                                                    Made Easy                    Prime            Made Easy

 Amazon Warehouse         Whole                 Woot!                               Zappos                       Ring             eero WiFi         Blink
 Great Deals on           Foods                 Deals and                           Shoes &                      Smart Home       Stream 4K         Smart
 Quality Used Products    Market                Shenanigans                         Clothing                     Security         Video             Security
                          America’s                                                                              Systems          in Every Room     for Every
                          Healthiest                                                                                                                Home
                          Grocery
                          Store

                          Neighbors             Amazon Subscription Boxes           PillPack                     Amazon
                          App                   Top subscription boxes –            Pharmacy                     Renewed
                          Real-Time             right to your door                  Simpliﬁed                    Like-new
                          Crime                                                                                  products
                          & Safety                                                                               you can trust
                          Alerts



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